     Case 2:17-bk-13943-ER       Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56        Desc
                                  Main Document    Page 1 of 91




    ,5$%(1$0,1.$7= 6WDWH%DU1R
     /$:2)),&(62),5$%(1-$0,1.$7=D3URI&RUS
    &HQWXU\3DUN(DVW6XLWH
    /RV$QJHOHV&$
     3KRQH  
    HPDLOLNDW]#NDW]ODZQHW
     >3URSRVHG@&R&RXQVHOWRWKH'HEWRUDQG'HEWRULQ3RVVHVVLRQ



     '$9,':0($'2:6 6WDWH%DU1R
     /$:2)),&(62)'$9,':0($'2:6
    &HQWXU\3DUN(DVW6XLWH 
     /RV$QJHOHV&DOLIRUQLD
    7HO   
     )D[   

     (PDLOGDYLG#GDYLGZPHDGRZVODZFRP
   >3URSRVHG@&R&RXQVHOWRWKH'HEWRUDQG'HEWRU,Q3RVVHVVLRQ


                                 81,7('67$7(6%$1.5837&<&2857
                                &(175$/',675,&72)&$/,)251,$
                                       /26 $1*(/(6 ',9,6,21


   ,QUH                                             &DVH1REN(5

   81,7<&285,(56(59,&(,1&                      &KDSWHU
                                                     '(&/$5$7,212)/28,6/,3621,1
             'HEWRU DQG'HEWRULQ3RVVHVVLRQ

                                                       68332572)),567'$<027,216

                                                     +HDULQJ    $SULO
                                                       7LPH       SP
                                                     3ODFH      &RXUWURRP
                                                                    (DVW7HPSOH6WUHHW
                                                                  /RV$QJHOHV&$
















                                               
     Case 2:17-bk-13943-ER               Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                 Desc
                                          Main Document    Page 2 of 91




              ,/RXLV/LSVRQGHFODUHDVIROORZV
                    , DP WKH &RQWUROOHU RI8QLW\&RXULHU6HUYLFH ,QFWKH&KDSWHUGHEWRUDQGGHEWRULQ

         SRVVHVVLRQLQWKHDERYHHQWLWOHGEDQNUXSWF\SURFHHGLQJ WKH'HEWRU  ,KDYHDXWKRULW\WRPDNHWKLV

         GHFODUDWLRQRQWKH'HEWRU VEHKDOISXUVXDQWWRWKDW³6WDWHPHQW5HJDUGLQJ$XWKRULW\WR6LJQ&KDSWHU



         3HWLWLRQRQ%HKDOIRI8QLW\&RXULHU6HUYLFH ´ ,KDYHSHUVRQDONQRZOHGJHRIWKHIDFWVVHWIRUWKKHUHLQ

        H[FHSWDVWRWKRVHVWDWHGRQLQIRUPDWLRQDQGEHOLHIDQGDVWRWKRVH,DPLQIRUPHGDQGEHOLHYHWKHPWR

        EHWUXH,IFDOOHGDVDZLWQHVV,FRXOGDQGZRXOGFRPSHWHQWO\WHVWLI\WRWKHPDWWHUVVWDWHGKHUHLQ

               2.      7KLVGHFODUDWLRQLVPDGH LQVXSSRUWRIWKH'HEWRU VIROORZLQJILUVWGD\RPQLEXVPRWLRQ

         WKH³0RWLRQ´ 

                       $     $XWKRUL]LQJWKH'HEWRU 3XUVXDQWWR6HFWLRQ D  E  D  D 


       DQG  RI WKH %DQNUXSWF\ &RGH WR 3D\ 3UHSHWLWLRQ :DJH DQG &RPSHQVDWLRQ $QG 5HODWHG 5HOLHI

       0HPRUDQGXP2I3RLQWV$QG $XWKRULWLHV,Q6XSSRUW7KHUHRI WKH³:DJH5HODWHG´ 

                       %         $XWKRUL]LQJWKH'HEWRU 3XUVXDQW7R6HFWLRQV D  E  E $QG D 

         RIWKH%DQNUXSWF\&RGHWR3HUPLWWKH5HWHQWLRQRI&HUWDLQ3UH3HWLWLRQ%DQN$FFRXQWV 0HUFKDQWDQG

         $&+$FFRXQWV DQG&UHGLW/LQH$FFRXQW ´ WKH³%DQNLQJ5HODWHG´ 


                     &        $XWKRUL]LQJ WKH 'HEWRU 3XUVXDQW WR 6HFWLRQ  RI WKH %DQNUXSWF\ &RGH DQG

   )HGHUDO 5XOH RI %DQNUXSWF\ 3URFHGXUH  E )RU $XWKRULW\ 7R 8VH &DVK &ROODWHUDO DQG 3URYLGH

     5HSODFHPHQW/LHQV WKH³&DVK&ROODWHUDO 5HODWHG´  DQG

                       '        $XWKRUL]LQJ WKH 'HEWRU 3XUVXDQW WR 6HFWLRQ  E  RI WKH %DQNUXSWF\ &RGH DQG

     )HGHUDO 5XOHRI%DQNUXSWF\3URFHGXUH  F  )RU $XWKRULW\WR &RQWLQXHD&UHGLW /LQHLQ3ODFH ZLWK


   &RPPXQLW\%DQNDQGRUWR2EWDLQD1HZ&UHGLW /LQH8QVHFXUHGE\$VVHWVRIWKH'HEWRUEXW6HFXUHGE\




     
               6HH3HWLWLRQSDFNDJH'RFNHW1RSDJH


                                                           
     Case 2:17-bk-13943-ER           Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                       Desc
                                      Main Document    Page 3 of 91




    $VVHWV RI WKH 'HEWRU¶V 6ROH 6KDUHKROGHUV /DUU\ /XP DQG $OL 6KDULIL WR WKH ([WHQW LI DQ\ 1RW
    $XWRPDWLFDOO\$XWKRUL]HG3XUVXDQWWR6HFWLRQ D DV2UGLQDU\&RXUVH ³2UGLQDU\&RXUVH%RUURZLQJ

     5HODWHG´ 

                                          (YHQWV3UHFHGLQJWKH%DQNUXSWF\



                    )RXQGHGLQWKH'HEWRULVDFRXULHUVHUYLFHVSHFLDOL]LQJLQVFKHGXOHGURXWHVHUYLFHV

    DVZHOODVRQFDOOWUDQVSRUWDWLRQQHHGV&XVWRPHUVLQFOXGHPDQ\PDMRUEDQNLQJDQGILQDQFLDOLQVWLWXWLRQV

    UHWDLOHVWDEOLVKPHQWVSURIHVVLRQDORUJDQL]DWLRQVDQGQXPHURXVRWKHUEXVLQHVVHV7KH'HEWRUKDVPRUH

     WKDQ  HPSOR\HHV ZRUNLQJ RXW RI LWV  RIILFHV LQ &DOLIRUQLD DQG :DVKLQJWRQ DQG XWLOL]HV

     VXEFRQWUDFWRUVLQ$UL]RQD&RORUDGRDQG1HYDGD

                  7KH'HEWRU¶V FDVHZDVILOHGGXHWRDQLQDELOLW\WRUHDFKDVHWWOHPHQWZLWKFODLPDQWVLQD


   FODVV DFWLRQ IRU XQSDLG ZDJHV   ,Q  WKH 'HEWRU DFTXLUHG FHUWDLQ DVVHWV RI 7UDQVER[ 6\VWHPV D

   GHFDGHVROGFRXULHUVHUYLFHWKDWZDVIDLOLQJ,Q-XQHMXGJPHQWZDVHQWHUHGDJDLQVWWKH'HEWRURQ

     DVXFFHVVRU OLDELOLW\WKHRU\LQWKHDPRXQWRISOXVLQWHUHVW DWWRUQH\V¶IHHVDQGFRVWV7KDW

     MXGJPHQW LVRQDSSHDO7KHFODVVDFWLRQSODLQWLIIV ZLOOEHUHIHUUHGWRE\WKH'HEWRUDVWKH³%URRNV&ODVV´

     DQGWKH³%URRNV&ODVV&ODLPDQWV´7KH'HEWRULVLQIRUPHGDQGEHOLHYHVWKDWWKH%URRNV&ODVVDVVHUWD


   MXGLFLDO³25$3´OLHQDJDLQVWDOODVVHWVRIWKH'HEWRU$OWKRXJKVXFKOLHQLIHQIRUFHDEOHZDVREWDLQHG

   GXULQJWKHGD\SHULRGSUH3HWLWLRQDQGWKH'HEWRUEHOLHYHVZKDWHYHUOLHQKHOGE\WKH%URRNV&ODVV

     &ODLPDQWVLVDYRLGDEOHXQGHU6HFWLRQRIWKH%DQNUXSWF\&RGHWKLVRPQLEXV0RWLRQWUHDWVWKH%URRNV

     &ODVV &ODLPDQWVDVKDYLQJDVHFXUHG FODLPZLWKRXW GHWHUPLQDWLRQRILWVYDOXDWLRQDVDVHFXUHGFODLP

     UHODWLYHWR WKH'HEWRU¶VDVVHWVDQGVHQLRUOLHQV


                 'XHWRDQLQDELOLW\WRUHDFKDVHWWOHPHQWZLWKWKH%URRNV&ODVV&ODLPDQWVDQGSHQGLQJ

   OLWLJDWLRQGHDGOLQHVWKH'HEWRUILOHGLWVYROXQWDU\SHWLWLRQRQ0DUFK WKH³3HWLWLRQ'DWH´ 




                                                     
     Case 2:17-bk-13943-ER              Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                     Desc
                                         Main Document    Page 4 of 91




                                :$*($1'&203(16$7,21 5(/$7('3257,21
                                              2)7+(201,%86027,21

                       7KH'HEWRUSD\VLWVHPSOR\HHVHYHU\WZRZHHNVLQDUUHDUV RQHZHHNDIWHUFORVHRIWKH

         SD\UROOSHULRG7KHPRVWUHFHQWSD\UROO LQFOXGLQJWKHSD\PHQWVWRWKHLQGHSHQGHQWFRQWUDFWRUV ZDV



         PDGHRQ0DUFK7KHQH[WSD\PHQWLVGXHRQ$SULO7KH$SULOWK SD\PHQWZLOOLQFOXGH

        ZDJHVDQGLQGHSHQGHQWFRQWUDFWRUREOLJDWLRQVDFFUXHG GXULQJWKHWZRZHHNVSULRUWRWKH0DUFK

        GDWHWKH3HWLWLRQ'DWH SOXVDQ\REOLJDWLRQIRUVHUYLFHVWKDWZHUHUHQGHUHGRQWKH3HWLWLRQ'DWHEXWDIWHU

         WKHSPILOLQJ7KHSD\PHQWREOLJDWLRQVLGHQWLILHGRQ([KLELW  DUHPHUHO\WKHRUGLQDU\SD\PHQW

         REOLJDWLRQVWKDWDUHDFFUXHGLQWKHWZRZHHNVEHIRUHDQGRQWKHGD\RIEXWDIWHU WKHILOLQJEXWDUHGXH

         WREHSDLGWKHZHHNDIWHUWKHILOLQJ


                     7RDYRLGWKHLUUHSDUDEOHKDUPWRWKH'HEWRU¶VHVWDWHLIWKH'HEWRUZDVQRWDEOHWRUHWDLQLWV

       ZRUNIRUFHWKH'HEWRUVHHNVDXWKRULW\WRSD\FHUWDLQSUHSHWLWLRQFODLPVIRUDPRQJRWKHUWKLQJVZDJHV

         DQGVDODULHVRIQRQLQVLGHUVDQGRWKHUFRPSHQVDWLRQLQFOXGLQJIHGHUDODQGVWDWHZLWKKROGLQJWD[HVSD\UROO

         WD[HVZKLFKWKH'HEWRUSD\VRUSURYLGHVWRWKHHPSOR\HHVLQWKHRUGLQDU\FRXUVHRIEXVLQHVV FROOHFWLYHO\

         WKH³(PSOR\HH2EOLJDWLRQV´ ,QDGGLWLRQWKH'HEWRUUHTXHVWVDXWKRULW\WRSD\WRWKHDSSURSULDWHWKLUG


       SDUWLHV WKH DPRXQWV WKDW DUH GHGXFWHG DQG ZLWKKHOG IURP HPSOR\HHV¶ SD\FKHFNV WKH ³(PSOR\HH

       'HGXFWLRQV´      7KH 'HEWRU IXUWKHU UHTXHVWV DXWKRUL]DWLRQ WR SD\ DQGRU KRQRU FRPSHQVDWLRQ UHODWHG

         FKHFNV WKDW DUH UHPDLQLQJ RXWVWDQGLQJ DQG QRW FDVKHG EXW RQO\ WKRVH KHOG E\ FXUUHQW HPSOR\HHV  ,Q

         DGGLWLRQ ZD\ RI WKLV 0RWLRQ WKH 'HEWRU VHHNV DXWKRULW\ WR SD\ RU KRQRU (PSOR\HH 2EOLJDWLRQV DQG

         (PSOR\HH'HGXFWLRQVLQUHVSHFWWRWKH'HEWRU¶V(PSOR\HHVDVRIWKH3HWLWLRQ'DWHDQGWRFRQWLQXHWR


       KRQRUH[LVWLQJ(PSOR\HHSUDFWLFHVSURJUDPVDQGSROLFLHV




               $OO([KLELWVDUHDWWDFKHGKHUHWRDQGDUHOLVWHGDWWKHHQGRIWKLV'HFODUDWLRQ


                                                        
     Case 2:17-bk-13943-ER               Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56               Desc
                                          Main Document    Page 5 of 91




                       $VRIWKH3HWLWLRQ'DWHWKH'HEWRUHPSOR\VRYHULQGLYLGXDOV7KHWRWDOSD\PHQWVWKDW
        DUHGXHRUDUHFRPLQJGXHDUHVKRZQRQ([KLELW  ([KLELW VHWVRXWWKHGDWDIRUHDFKLQGLYLGXDO7KH

         DQWLFLSDWHGWRWDOVDUHVKRZQDWWKHERWWRPRI([KLELWDQGDUHDVIROORZV

               7RWDO([SHFWHG3D\PHQWV
              WRHPSOR\HHVDQGLQGHSHQGHQW

               FRQWUDFWRUV                                    

              7RWDO3D\UROO7D[6WDWHDQG
               )HGHUDO:LWKKROGLQJ                            

               ([SHFWHGJDUQLVKPHQWV                            


             2XWVWDQGLQJSD\FKHFNV                            

             7RWDO([SHFWHG3UH3HWLWLRQ
               3D\UROO5HODWHG([SHQVHV                      


   ,QDGGLWLRQVLQFHWKHDFWXDOSD\UROODPRXQWVDUHEDVHGRQWKHDFWXDOGHOLYHULHVPDGHSHUFRXULHUWKHILQDO

   DPRXQWVPD\YDU\VOLJKWO\7RDFFRXQWIRUWKDWYDULDWLRQ,UHTXHVW DSSURYDORIXSWRDQDGGLWLRQDO

     DVFXVKLRQ7KHUHIRUHWKHWRWDODPRXQWUHTXHVWHGIRUDSSURYDOLV

                               ,QDOOLQVWDQFHVQRHPSOR\HHZLOOEHSDLGPRUHWKDQ ZKLFK,XQGHUVWDQG

     LV WKH DPRXQW RI WKH %DQNUXSWF\ &RGH VHFWLRQ  D   SULRULW\ IRU XQVHFXUHG ZDJH VDODULHV RU


   FRPPLVVLRQVLQFOXGLQJYDFDWLRQVHYHUDQFHDQGVLFNOHDYHFODLPVHDUQHGE\DQLQGLYLGXDOZLWKLQGD\V

   SULRUWRWKHILOLQJRIWKHSHWLWLRQ

                              ,QWKHRUGLQDU\FRXUVH RIEXVLQHVVWKH'HEWRUWDNHVHPSOR\HHGHGXFWLRQVIURPLWV

     HPSOR\HHV¶SD\FKHFNV DVDSSOLFDEOH WKDWLQFOXGH SD\UROOWD[HVDQGWKHHPSOR\HHV¶SRUWLRQRI),&$DQG

     XQHPSOR\PHQWWD[HV7KH'HEWRUIRUZDUGVDPRXQWVHTXDOWRWKHHPSOR\HHGHGXFWLRQVIURPLWVRSHUDWLQJ


   DFFRXQWWRWKHDSSURSULDWHWKLUGSDUW\UHFLSLHQWV



         &HUWDLQHPSOR\HHVDUHOLVWHGPRUHWKDQRQFHRQ([KLELW  EHFDXVHWKH\KDYHPXOWLSOH FODLPV

     ZKLFKLQWKHDJJUHJDWHGRQRWH[FHHG 7KHVHDUHQRWGXSOLFDWHDPRXQWV


                                                       
     Case 2:17-bk-13943-ER           Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                  Desc
                                      Main Document    Page 6 of 91




                         ,W ZRXOG FDXVH LPPHGLDWH DQG LUUHSDUDEOH KDUP WR WKH 'HEWRU DQG LWV EXVLQHVV
    RSHUDWLRQVXQOHVVLWLVDXWKRUL]HGWRFRQWLQXHLWVRUGLQDU\EXVLQHVV RSHUDWLRQVE\PDLQWDLQLQJLWVHPSOR\HH

     UHODWHGZDJHDQGVDODU\REOLJDWLRQVDQGLWZRXOGFDXVHJUHDWDQGXQQHFHVVDU\KDUGVKLSWRWKHHPSOR\HHV

     DQGLQGHSHQGHQWFRQWUDFWRUV



                          $VVHWIRUWKLQ([KLELWWKHWRWDOH[SHFWHGSD\UROOLV7KH'HEWRU

    DQWLFLSDWHVKDYLQJVXIILFLHQWIXQGVRQKDQGRQ$SULO WRPHHWLWVSD\UROOREOLJDWLRQV $VRIWKH

    ILOLQJRIWKHSHWLWLRQ WKH'HEWRUKDGDSSUR[LPDWHO\ LQZKDWLWEHOLHYHVDUHFROOHFWLEOHDFFRXQWV

     UHFHLYDEOHV DQGDSSUR[LPDWHO\ LQFDVKRQKDQG7KH'HEWRUFROOHFWHGDSSUR[LPDWHO\

     RI WKH SUHSHWLWLRQ UHFHLYDEOHV RQ $SULO   7KH 'HEWRU H[SHFWV WR KDYH DSSUR[LPDWHO\ DQ DGGLWLRQDO

      LQFROOHFWLEOHDFFRXQWVUHFHLYDEOHDVRI $SULO IRUQHZ$SULOELOOLQJV+LVWRULFDOO\WR


   WKHH[WHQWWKHUHZHUH LQVXIILFLHQWIXQGVRQKDQGDVRIDSD\GDWH LQWKHRUGLQDU\FRXUVHRILWVEXVLQHVV WKH

   'HEWRUZRXOGQRUPDOO\GUDZGRZQRQLWVFUHGLWIDFLOLW\IURP&RPPXQLW\%DQN WKH ³&UHGLW

     /LQH´ WRFRYHULWVSD\UROOREOLJDWLRQVDQGWKHQSD\GRZQRUSD\RIIWKDWOLQHDVIXQGVEHFDPHDYDLODEOH

     $VRIWKHILOLQJRIWKHSHWLWLRQIRUUHOLHIWKH&UHGLW/LQHKDGEHHQSDLGGRZQWR]HUR+RZHYHU,GRQRW

     \HWNQRZZKHWKHU&RPPXQLW\%DQNZLOOFRQWLQXHWRSURYLGHWKDW&UHGLW/LQHSRVWSHWLWLRQ7KH&UHGLW


   /LQHLVQRWVHFXUHGE\DVVHWVRIWKH8QLW\EXW,DPLQIRUPHGDQGEHOLHYHLVVHFXUHGE\FHUWLILFDWHVRI

   GHSRVLW SRVWHG E\ /DUU\ /XP ³/XP´  DQG $OL 6KDULIL ³6KDULIL´  WKH VROH RIILFHUV GLUHFWRUV DQG

     VKDUHKROGHUVRI8QLW\ ,WLVP\XQGHUVWDQGLQJWKDWLIWKH'HEWRUGRHVQRWKDYHVXIILFLHQWIXQGVRQKDQGWR

     PDNHSD\UROORQWKHSD\GDWHDQG &RPPXQLW\%DQNZLOOQRWH[WHQGFUHGLWXQGHUWKH&UHGLW/LQHWKDWWKH

     'HEWRUZLOOKDYHDQDOWHUQDWLYHFUHGLWIDFLOLW\LQSODFHRQVXEVWDQWLDOO\LGHQWLFDOWHUPVDQGZLOOGUDZXSRQ


   WKDWOLQHDVQHHGHGLQWKHRUGLQDU\FRXUVH7KLVLVIXUWKHUHYLGHQFHG E\WKH'HFODUDWLRQRI/DUU\/XP

   ILOHGFRQFXUUHQWO\KHUHZLWK 7KH'HEWRUZLOOQRWLVVXHFKHFNVWRHPSOR\HHVRQ$SULOWK XQOHVVDSSURYHG
   E\WKLV&RXUWDQGLWKDVIXQGVRQKDQGWRFRYHUWKHFKHFNV


                                                    
     Case 2:17-bk-13943-ER         Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                Desc
                                    Main Document    Page 7 of 91






                               5HTXHVWWR3UHVHUYH3UH3HWLWLRQ%DQN$FFRXQW

                 7KH'HEWRUPDLQWDLQHGWKHIROORZLQJDFFRXQWVSUHSHWLWLRQDOOKHOGDW&RPPXQLW\%DQN

                           D      0RQH\0DUNHW$FFRXQW7KH'HEWRUGHSRVLWVFXVWRPHUFKHFNVLQWRWKLV



     DFFRXQW0RQH\LVWKHQWUDQVIHUUHGPDQXDOO\WRFRYHUDQ\GLVEXUVHPHQWVIURPWKH'LVEXUVHPHQW$FFRXQW

    3D\UROO $FFRXQWRUWKH&UHGLW/LQH7KLVDFFRXQWZDVFORVHG RQ0DUFKRQFHWKH3HWLWLRQZDV

    ILOHG

                           E      'LVEXUVHPHQW$FFRXQW7KLVDFFRXQWLVIRUWKHSD\PHQWRIRUGLQDU\

     FRXUVHSD\PHQWVSOXVRXWJRLQJ$&+SD\PHQWVWRYHQGRUV6RPHWD[HVDUHSDLGIURPWKLVDFFRXQWEXW

     QRWWKH,567KLVDFFRXQWLVIXQGHGE\GUDZVRQWKH&UHGLW/LQH7KLVDFFRXQWZDVFORVHG RQ0DUFK


   

                         F      ()7$FFRXQW7KLVDFFRXQW SURFHVVHVERWK$&+WUDQVIHUVDQGIXQFWLRQV

     DVDPHUFKDQWEDQNDFFRXQWIRUFUHGLWFDUGSD\PHQWV7KH'HEWRUPRVWO\WUDQVIHUVIXQGVIURPWKLVDFFRXQW

     WRWKH&UHGLW/LQH7KLVDFFRXQWKDVQRW EHHQFORVHGIRUWKHUHDVRQVVWDWHGEHORZDQGLQWKH0RWLRQ

                           G      3D\UROO $FFRXQW7KLVDFFRXQWLVIRUWKHSD\PHQWRIHPSOR\HHFKHFNV


   DQGWKH,567KLVDFFRXQWLVIXQGHGIURPHLWKHUGHSRVLWVLQWRWKH0RQH\0DUNHW$FFRXQWRUGUDZVRQ

   WKH&UHGLW/LQH(PSOR\HHVGRQRWKDYHGLUHFWGHSRVLW$OOSD\PHQWVDUHPDGHE\FKHFN7KLV

     DFFRXQWZDVFORVHG RQ0DUFK

                           H      &UHGLW/LQH 7KLVDFFRXQWVHUYHVDVDOLQHWRVXSSRUWWKH'HEWRU¶VSD\PHQW

     REOLJDWLRQV,WLVXQVHFXUHGE\DQ\DVVHWVRIWKH'HEWRU$VRIWKH3HWLWLRQ'DWHLWKDGEHHQSDLGGRZQ


   WRD]HUREDODQFH7KLVDFFRXQWZDVQRW FORVHGVRWKDWLWFDQUHPDLQLQSODFHWRFRYHUDQ\FDVKVKRUWIDOO

   IRUWKHFRPSHQVDWLRQSD\DEOHRQ$SULO




                                                  
     Case 2:17-bk-13943-ER           Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                       Desc
                                      Main Document    Page 8 of 91




                         ,WLVDEVROXWHO\FULWLFDOWRWKH'HEWRUWKDWWKH()7$FFRXQW LVNHSWRSHQ XQWLODQHZ
    RQHDWDQDSSURYHGGHSRVLWRU\FDQEHRSHQHG7KH'HEWRULVVWLOOUHFHLYLQJIXQGVLQWRWKDWDFFRXQW,QGHHG

     WKH'HEWRUUHFHLYHGDSSUR[LPDWHO\LQSRVWSHWLWLRQSD\PHQWVWRWKLVDFFRXQWDVRI$SULO

     ,WZLOOFUHDWHFKDRVIRUWKH'HEWRU¶VFXVWRPHUVLIGHSRVLWVLQWRWKDWDFFRXQWDUHUHIXVHG



                          ,WLVDOVRDEVROXWHO\FULWLFDOIRUWKH&UHGLW/LQHDFFRXQWWRUHPDLQRSHQWRUHFHLYH

    DGYDQFH IURP &RPPXQLW\ %DQN LQ WKH RUGLQDU\ FRXUVH RI EXVLQHVV XQWLO WKH 'HEWRU VHWV XS D VLPLODU

    XQVHFXUHGFUHGLWOLQHIDFLOLW\ZLWKDQRWKHULQVWLWXWLRQZKLFKLWKRSHVWRGRZLWKLQGD\VRIWKHGDWHRI

     WKHKHDULQJRQWKHLQVWDQWPRWLRQ

     
                                        5HTXHVWIRU8VHRI&DVK&ROODWHUDO

                    %DVHG RQ WKH 'HEWRU¶V HVWLPDWHV LW KDV DV RI WKH 3HWLWLRQ 'DWH $WWDFKHG  KHUHWR DV

     ([KLELW LVDWUXHFRS\RIWKH'HEWRU¶V(VWLPDWHG$VVHWVDQG/LDELOLWLHV DVRI0DUFK3HWLWLRQ

     'DWHZKLFKUHIOHFWV LQWRWDODVVHWVDQG LQWRWDOOLDELOLWLHV7KLVHVWLPDWHGRHVQRW


   UHIOHFWWKHMXGJPHQWDJDLQVWWKH'HEWRUREWDLQHGLQ)HEUXDU\\HDUE\ WKH%URRNV&ODVVLQSKDVHRQH

   RIDFODVVDFWLRQODZVXLWSHQGLQJLQWKH$ODPHGD&RXQW\6XSHULRU&RXUW&DVH1XPEHU-&&35*

       WKH ³$ODPHGD $FWLRQ´ DQG WKH ³%URRNV -XGJPHQW´ QRU WKH FODLP DVVHUWHG E\ WKH %URRNV

     &ODLPDQWVLQSKDVHRIWKHWULDOZKLFK,DPLQIRUPHGZDVVHWWRFRPPHQFHRQ$SULOEXWZDV

     VWD\HGE\WKHILOLQJRIWKHSHWLWLRQIRUUHOLHIKHUHLQ ,DPLQIRUPHGWKDW %URRNVDVVHUWV WKDWWKHRXWVWDQGLQJ


   XQSDLGEDODQFHRIWKH%URRNV-XGJPHQWH[FHHGV7KH%URRNV-XGJPHQWLVRQDSSHDO,Q OLJKW

   RIWKH%URRNV-XGJPHQWWKH'HEWRUKDVEHHQLQVROYHQWVLQFHDWOHDVWGD\VSULRUWRWKH3HWLWLRQ'DWH










                                                     
     Case 2:17-bk-13943-ER           Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                  Desc
                                      Main Document    Page 9 of 91




                          $VRIWKH3HWLWLRQ'DWHWKH'HEWRUKDGWKUHHFUHGLWRUVZKRPD\EHVHFXUHGE\WKH
    'HEWRU¶VDVVHWV

                         D          &DPFR5HVRXUFHV//& ³&DPFR´ 

                         E          6WHYH.HOOH\/RSH] ³/RSH]´ 



                         F          DQGWKH%URRNV &ODVV

                     ,WLVP\XQGHUVWDQGLQJWKDW&DPFRDVVHUWVDILUVWSULRULW\VHFXULW\LQWHUHVWLQ DOORI WKH

    SHUVRQDO SURSHUW\ RI WKH 'HEWRU E\ UHDVRQ RI WKH 'HEWRU¶V SXUFKDVH RI FHUWDLQ DVVHWV IURP &DPFR¶V

     DVVLJQRUPHPRULDOL]HGE\D&RPPLVVLRQ$JUHHPHQWDQG D 6HFXULW\$JUHHPHQW ERWK HQWHUHGLQWRDVRU

     DERXW0DUFKDQGD8&&)LQDQFLQJ6WDWHPHQWILOHGZLWKWKH&DOLIRUQLD6HFUHWDU\RI6WDWHRQ

     -DQXDU\   ZKLFK ZDV DVVLJQHG ILOLQJ QXPEHU  FROOHFWLYHO\ WKH ³&DPFR /RDQ


   'RFXPHQWV´  D WUXH FRS\ RI HDFK LV DWWDFKHG WR WKH 6WLSXODWLRQ IRU 8VH RI &DVK &ROODWHUDO ILOHG

   FRQFXUUHQWO\KHUHZLWK DV([KLELWVDQG UHVSHFWLYHO\7KH&RPPLVVLRQ$JUHHPHQWFDOOVIRUWKH

     'HEWRUWRSD\WR&DPFRDFRPPLVVLRQRUUR\DOW\SD\PHQWRIEHWZHHQDQGRIGHVLJQDWHGUHYHQXHV

     IRUPRQWKVLQDQDPRXQWQRWWRH[FHHG $VRIWKH3HWLWLRQ'DWHWKHXQDXGLWHGLQWHUQDO

     UHFRUGVRIWKH'HEWRULQGLFDWHDFRPPLVVLRQEDODQFHRZHGWR&DPFRRI 7KH&RPPLVVLRQ


   $JUHHPHQW IXUWKHU SURYLGHV IRU $OL 6KDULIL DQG /DUU\ /XP WR SHUVRQDOO\ JXDUDQW\ WKH 'HEWRU¶V

   LQGHEWHGQHVVWKHUHXQGHUDQGWRSURYLGHDOLHQRQWKUHHSLHFHVRIUHDOSURSHUW\RZQHGE\WKHP

                       ,WLVP\IXUWKHUXQGHUVWDQGLQJWKDW/RSH]DVVHUWVDVHFRQGSULRULW\VHFXULW\LQWHUHVWLQ

     DOORIWKHSHUVRQDOSURSHUW\RIWKH'HEWRUE\UHDVRQRIDORDQKHPDGHWRWKH'HEWRUPHPRULDOL]HG

     E\D3URPLVVRU\1RWHDQGD 6HFXULW\$JUHHPHQWERWK HQWHUHGLQWRRQRUDERXW)HEUXDU\ DQGD


   8&&)LQDQFLQJ6WDWHPHQWILOHGZLWKWKH&DOLIRUQLD6HFUHWDU\RI6WDWHRQ)HEUXDU\ZKLFKZDV

   DVVLJQHGILOLQJQXPEHU FROOHFWLYHO\WKH³/RSH]/RDQ'RFXPHQWV´ DWUXHFRS\RIHDFK
   LVDWWDFKHGKHUHWRWRWKH6WLSXODWLRQIRU8VHRI&DVK&ROODWHUDOILOHGFRQFXUUHQWO\KHUHZLWKDV([KLELWV


                                                    
     Case 2:17-bk-13943-ER          Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                  Desc
                                    Main Document    Page 10 of 91




     DQGUHVSHFWLYHO\$VRIWKH3HWLWLRQ'DWH WKHXQDXGLWHGLQWHUQDOUHFRUGVRIWKH'HEWRULQGLFDWHD
    EDODQFH RZHG WR /RSH] SXUVXDQW WR WKH /RSH] /RDQ 'RFXPHQWV RI  SOXV DFFUXHG LQWHUHVW

     $OWKRXJKWKH3URPLVVRU\1RWHWR/RSH]PDWXUHGSUHSHWLWLRQLWLVP\XQGHUVWDQGLQJWKDW/RSH]KDVDJUHHG

     WRFRQWLQXHWRDFFHSWLQWHUHVWRQO\SD\PHQWVIRUDOLPLWHGSHULRGRIWLPH



                         , DP LQIRUPHG WKDW DQ 2UGHU WR $SSHDU IRU ([DPLQDWLRQ WKH ³25$3´  E\ WKH

    %URRNV&ODVVZDVLVVXHGLQWKH$ODPHGD$FWLRQRQ)HEUXDU\ D FRQIRUPHG FRS\RIZKLFKLV

    DWWDFKHGKHUHWRDV([KLELWDQGWKDW WKHUHDIWHU WKH25$3ZDVVHQWIRUVHUYLFHXSRQWKH'HEWRU,WLV

     P\XQGHUVWDQGLQJWKDWSXUVXDQWWR&DOLIRUQLD&RGHRI&LYLO3URFHGXUHVHFWLRQ G ³6HUYLFHRIWKH

     RUGHUFUHDWHVDOLHQRQWKH SHUVRQDOSURSHUW\RIWKHMXGJPHQWGHEWRUIRUDSHULRGRIRQH\HDUIURPWKHGDWH

     RIWKHRUGHUXQOHVVH[WHQGHGRUVRRQHUWHUPLQDWHGE\WKHFRXUW´,WLVP\IXUWKHUXQGHUVWDQGLQJWKDWLIWKH


   25$3ZDVSURSHUO\VHUYHGXSRQWKH'HEWRUVXFKVHUYLFHFRXOGQRWKDYHEHHQXQWLORQRUDIWHUWKH25$3

   ZDVLVVXHGRQ)HEUXDU\OHVVWKDQGD\VSULRUWRWKH0DUFK3HWLWLRQ'DWH DWDWLPH

     ZKHQ WKH 'HEWRU ZDV LQVROYHQW DQG DFFRUGLQJO\ DQ\ VXFK OLHQ ZRXOG EH DYRLGDEOH DV D SUHIHUHQFH

     SXUVXDQWWR%DQNUXSWF\&RGHVHFWLRQ

                         $WWDFKHGKHUHWRDV([KLELW LVP\SURMHFWLRQRIWKH'HEWRU¶VFDVKUHFHLSWVDQG


   GLVEXUVHPHQWVGXULQJWKHPRQWKVRI$SULO0D\DQG-XQHLIDOORZHGWRRSHUDWHQRUPDOO\ DQGXVH

   FDVKFROODWHUDO2QDFDVKEDVLVLQFOXGLQJLWVUHJXODUPRQWKO\FRPPLVVLRQSD\PHQWWR&DPFR HVWLPDWHG

     WRDJJUHJDWHGXULQJWKLVWKUHHPRQWKSHULRG DQGLQWHUHVWRQO\SD\PHQWWR/RSH] HVWLPDWHGWR

     DJJUHJDWH GXULQJWKLVWKUHHPRQWKSHULRG  ,SURMHFWWKDWWKH'HEWRUZLOOUHFHLYH DQG

     GLVEXUVHDWRWDORIGXULQJWKHPRQWKVRI$SULO0D\DQG-XQHOHDYLQJD FDVKEDODQFH


   RI DWWKHHQGRIWKLVSHULRG,WLVP\EHOLHIWKDWWKH'HEWRU¶VFRQWLQXHGRSHUDWLRQGXULQJWKLVWKUHH

   PRQWKSHULRGZLOOQRWUHVXOWLQDGLPLQXWLRQRIWKHYDOXHRIWKHFDVKFROODWHUDOEXWHLWKHUWKHPDLQWHQDQFH




                                                  
     Case 2:17-bk-13943-ER             Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                 Desc
                                       Main Document    Page 11 of 91




    RUHQKDQFHPHQWRIWKHYDOXHRIWKHFDVKFROODWHUDO DQGDUHGXFWLRQLQWKHDPRXQWRZHGWR&DPFR :LWKRXW
    WKHXVHRIFDVKFROODWHUDOWKH'HEWRUZRXOGQRWEHDEOHWRRSHUDWH



                                       2UGLQDU\&RXUVH8QVHFXUHG%RUURZLQJ



                          $VVHWIRUWKDERYHWKH'HEWRUKDVXWLOL]HGDQXQVHFXUHGFUHGLWOLQH,WLVFULWLFDOWR

    WKH'HEWRU¶VFRQWLQXHGRSHUDWLRQDQGFDVKIORZVWKDWWKHFUHGLWOLQHIDFLOLW\UHPDLQRSHQXQWLOLWLVUHSODFHG

    E\DQHZIDFLOLW\RQVLPLODUWHUPVDWDQDSSURYHGGHSRVLWRU\$VVWDWHGDERYHWKH 'HEWRUFXUUHQWO\KDV

     DFUHGLWOLQHDW&RPPXQLW\%DQN7KH'HEWRULVXQGHUWDNLQJWRKDYHDQHZXQVHFXUHGFUHGLW

     OLQHHVWDEOLVKHGDW&LWL]HQV%XVLQHVV%DQN7KHVHHIIRUWVDUHGHVFULEHGLQWKHVHSDUDWHO\ILOHG'HFODUDWLRQ

     RI/DUU\/XP




                    ,GHFODUHXQGHUSHQDOW\RISHUMXU\XQGHUWKHODZVRIWKH8QLWHG6WDWHVRI$PHULFDWKDWWKH

     IRUHJRLQJLVWUXHDQGFRUUHFW

                      ([HFXWHGWKLVBBBB GD\RI$SULO LQ/RV$QJHOHV&DOLIRUQLD



                                                                       VHH QH[W SDJH

                                                                     /RXLV/LSVRQ


















                                                   
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 12 of 91
     Case 2:17-bk-13943-ER    Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56              Desc
                              Main Document    Page 13 of 91





                                         /,672)(;+,%,76



     ([KLELW       /LVWRI:DJH5HODWHG3D\PHQWV5HTXHVWHGIRU$SSURYDO

     ([KLELW      (VWLPDWHG$VVHWVDQG/LDELOLWLHVDVRI0DUFK



     ([KLELWV  ±    &DPFR/RDQ'RFXPHQWV

    ([KLELWV±    /RSH]/RDQ'RFXPHQWV

    ([KLELW        %URRNV&ODVV25$32UGHUWR$SSHDUIRU([DPLQDWLRQ

     ([KLELW       3URMHFWLRQRIWKH'HEWRU¶VFDVKUHFHLSWVDQGGLVEXUVHPHQWVGXULQJWKHPRQWKVRI
                     $SULO0D\DQG-XQH





































                                            
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 14 of 91




                               EXHIBIT 1

                                                                    Page 13 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                Desc
                                             Main Document    Page 15 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name       First Name
              07-Apr-17                                      $1,068.60        Zuniga          Aracely
              07-Apr-17                                         $88.00        Zuniga          Aracely
              07-Apr-17                                       $961.31         Zulkarnaen      Aviana
              07-Apr-17                                       $947.09         Zendejas Jr     Jose Luis
              07-Apr-17                                       $571.41         Zendejas Jr     Jose Luis
              07-Apr-17                                      $1,011.62        Zednick         Deborah
              07-Apr-17                                      $1,431.13        Zavalza         Nancy
              07-Apr-17                                      $1,265.69        Zavala          Sixto
              07-Apr-17                                      $1,338.84        Zantsevich      Valery
              07-Apr-17                                      $1,555.40        Zamora Barron   Alex
              07-Apr-17                                       $888.87         Zamora          German
              07-Apr-17                                       $898.15         Zambrano        Karol
              07-Apr-17                                      $1,280.80        Zaldivar        Concepcion
              07-Apr-17                                      $1,185.59        Yang            Ma Dee
              07-Apr-17                                       $720.65         Yang            Long
              07-Apr-17                                       $688.67         Yang            Kevin Hua
              07-Apr-17                                       $458.88         Yang            Cynthia
              07-Apr-17                                       $680.31         Yang            Cheemo Blia Tou
              07-Apr-17                                      $1,462.21        Yanez           Palemon
              07-Apr-17                                       $910.06         Xiong           Long
              07-Apr-17                                      $1,308.76        Xiong           Caleen
              07-Apr-17                                      $1,760.54        Wu              Louis
              07-Apr-17                                      $1,536.36        Wright lll      Gene
              07-Apr-17                                       $815.76         Windau          Warren
              07-Apr-17                                      $1,332.82        Wilson          Carol
              07-Apr-17                                        $999.95        Willey          Stephanie
              07-Apr-17                                       $557.65         Widhiarko       Josef
              07-Apr-17                                       $599.10         Widhiarko       Josef
              07-Apr-17                                      $1,427.76        Wenceslao       John
              07-Apr-17                                    ($1,766.36)        Weiland         Jonathan
              07-Apr-17                                      $1,437.31        Weiland         Jonathan
              07-Apr-17                                      $1,766.36        Weiland         Jonathan
              07-Apr-17                                      $1,020.68        Weber Jr        Walter
              07-Apr-17                                      $1,778.65        Watson          Gary Lee
              07-Apr-17                                         $35.76        Watson          Gary Lee
              07-Apr-17                                      $2,200.84        Washington      Leroy
              07-Apr-17                                         $50.00        Wais            Safaa
              07-Apr-17                                      $1,164.10        Wais            Safaa
              07-Apr-17                                    ($1,260.90)        Wais            Safaa
              07-Apr-17                                      $1,260.90        Wais            Safaa

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                               1 of 28
                                                                                                      Page 14 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                     Desc
                                             Main Document    Page 16 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name         First Name
              07-Apr-17                                        $832.63        Vue               Seng
              07-Apr-17                                      ($832.63)        Vue               Seng
              07-Apr-17                                        $872.21        Vue               Seng
              07-Apr-17                                        $832.63        Vu                Quocanh
              07-Apr-17                                      $1,927.18        Vozniuk           Dmytro
              07-Apr-17                                      $1,417.58        Vo                Tu
              07-Apr-17                                      $1,137.88        Vital             Calixto
              07-Apr-17                                      $2,306.62        Virk              Jaswinder
              07-Apr-17                                      $1,187.26        Virk              Jaswinder
              07-Apr-17                                    ($2,306.62)        Virk              Jaswinder
              07-Apr-17                                      $1,501.40        Virk              Jaskaran Singh
              07-Apr-17                                        $668.47        Virachit          Jamie
              07-Apr-17                                        $166.48        Villarreal        Adrian
              07-Apr-17                                        $727.98        Villareal         Miguel
              07-Apr-17                                        $891.54        Villanueva        Michelle
              07-Apr-17                                        $875.88        Villalta          Ana
              07-Apr-17                                      $1,538.04        Villalobos        Jose
              07-Apr-17                                        $998.47        Villalobos        Hugo
              07-Apr-17                                        $579.80        Villagomez        Jesus
              07-Apr-17                                      $1,048.99        Villachica        Maria Eugenia
              07-Apr-17                                      $1,238.22        Villa             Rafael
              07-Apr-17                                        $971.51        Villa             Irene
              07-Apr-17                                      $2,002.17        Vilchez           Jose
              07-Apr-17                                      $1,342.42        Vilash            Rakesh
              07-Apr-17                                        $466.78        Vianzon           Marciano
              07-Apr-17                                      $1,967.25        Vergara           Carlos
              07-Apr-17                                      $1,182.26        Vera              Gloria
              07-Apr-17                                    ($1,182.26)        Vera              Gloria
              07-Apr-17                                      $1,094.04        Vera              Gloria
              07-Apr-17                                        $951.07        Ventura Rosales   Jhoan
              07-Apr-17                                      ($845.44)        Velela            Marco Antonio
              07-Apr-17                                        $552.63        Velela            Marco Antonio
              07-Apr-17                                        $845.44        Velela            Marco Antonio
              07-Apr-17                                      $1,009.44        Velasquez         Santos
              07-Apr-17                                        $785.86        Velasco           Felipe
              07-Apr-17                                        $971.40        Vazquez-Ramirez   Jorge
              07-Apr-17                                      $1,241.59        Vazquez-Palafox   Nora
              07-Apr-17                                      $1,545.27        Vasquez           Liliana
              07-Apr-17                                      $1,076.96        Vasquez           Jaime
              07-Apr-17                                      $1,589.46        Vas               Eduardo

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                  2 of 28
                                                                                                        Page 15 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                     Desc
                                             Main Document    Page 17 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name          First Name
              07-Apr-17                                      $1,502.59        Vartanian          Arpineh
              07-Apr-17                                      $1,138.52        Vargas-Apolinar    Rossana
              07-Apr-17                                       $966.61         Vargas Garcia      Wilson
              07-Apr-17                                       $933.48         Vargas             Cesar
              07-Apr-17                                      $1,032.21        Vargas             Andrea
              07-Apr-17                                      $1,332.98        Vang               Shoua
              07-Apr-17                                      $1,138.95        Vallejo            Maria
              07-Apr-17                                       $825.32         Valle              William
              07-Apr-17                                      $2,120.00        Valenzuela         Gilberto
              07-Apr-17                                      $1,174.31        Valencia           Milwaerd
              07-Apr-17                                      $2,538.88        Ushakov            Aleksey
              07-Apr-17                                      $2,287.52        Ushakov            Aleksey
              07-Apr-17                                    ($2,538.88)        Ushakov            Aleksey
              07-Apr-17                                      $1,132.24        Urena-Jara         Oscar
              07-Apr-17                                         $30.17        Turner             Charon
              07-Apr-17                                       $690.30         Turner             Charon
              07-Apr-17                                    ($1,503.55)        Tuntaliyanon       Praripon
              07-Apr-17                                      $1,708.67        Tuntaliyanon       Praripon
              07-Apr-17                                      $1,503.55        Tuntaliyanon       Praripon
              07-Apr-17                                       $295.55         Trejo              Ramon
              07-Apr-17                                       $446.26         Trejo              Ramon
              07-Apr-17                                      $1,505.70        Trejo              Martin
              07-Apr-17                                      $1,217.84        Tran               Duc Van
              07-Apr-17                                      $1,577.07        Torres Diaz        Angel
              07-Apr-17                                      $1,124.67        Torres             Mercedes
              07-Apr-17                                       $986.46         Torres             Maria Delaluz
              07-Apr-17                                      $1,064.93        Torres             Gabriela
              07-Apr-17                                      $1,101.44        Torres             Alfonso
              07-Apr-17                                      $1,450.19        Torrealba Osorio   Levit
              07-Apr-17                                       $626.64         Tojin              Marco
              07-Apr-17                                       $981.80         Tjio               Jemmy
              07-Apr-17                                       $500.17         Tjio               Jemmy
              07-Apr-17                                      $1,101.30        Thomsen            Paul
              07-Apr-17                                      $1,018.63        Thao               Jason
              07-Apr-17                                       $721.94         Terronez           Daniel
              07-Apr-17                                      $1,654.69        Ternavskyy         Sergiy
              07-Apr-17                                      $1,003.81        Terinate           Denny
              07-Apr-17                                       $562.53         Tellez-Medina      Kevin
              07-Apr-17                                         $82.28        Tellez-Medina      Kevin
              07-Apr-17                                      $3,170.96        Tellez             Alberto Jose

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                  3 of 28
                                                                                                         Page 16 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                    Desc
                                             Main Document    Page 18 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name       First Name
              07-Apr-17                                      $1,315.24        Tejada          Jose
              07-Apr-17                                       $898.48         Taylor Jr       Edward Dan
              07-Apr-17                                      $1,387.48        Tang            Yuk Lun
              07-Apr-17                                      $1,693.50        Tang            Eric
              07-Apr-17                                       $695.80         Tan             Run Peng
              07-Apr-17                                         $81.68        Tan             Run Peng
              07-Apr-17                                       $116.42         Tamayo Vargas   Yadira
              07-Apr-17                                      $1,377.30        Suy Lopez       Cesar
              07-Apr-17                                       $958.51         Surjono         Nikmat
              07-Apr-17                                       $993.58         Surjono         Makmur
              07-Apr-17                                      $1,065.69        Suharto         Suharto
              07-Apr-17                                      $2,895.94        Suarez          Danton
              07-Apr-17                                       $975.04         Stroup          Sharon L.
              07-Apr-17                                       $226.58         Stinson         Mary
              07-Apr-17                                        $790.57        Stanfill        David
              07-Apr-17                                      $1,186.35        Sta Ines        Ma Theresa
              07-Apr-17                                       $924.51         Srivapa         Likit
              07-Apr-17                                      $1,022.27        Srimek          Somkiet
              07-Apr-17                                      $2,363.37        Sorto           Mario Ernesto
              07-Apr-17                                      $1,650.21        Sookpisal       Somchai
              07-Apr-17                                       $888.26         Songprasert     Tasanee
              07-Apr-17                                      $1,377.62        Solorzano       Guillermo
              07-Apr-17                                    ($1,377.62)        Solorzano       Guillermo
              07-Apr-17                                      $1,611.22        Solorzano       Guillermo
              07-Apr-17                                      $1,541.07        Solano          Javier
              07-Apr-17                                        $617.83        Smith           Marvin
              07-Apr-17                                      $1,229.48        Smith           Latwana
              07-Apr-17                                      $1,013.04        Smith           John Wilson III
              07-Apr-17                                      $1,598.64        Smith           John Wilson III
              07-Apr-17                                       $657.88         Smith           DeAndre
              07-Apr-17                                      $1,260.36        Smith           Anthony
              07-Apr-17                                      $1,305.33        Skalskiy        Vladimir
              07-Apr-17                                       $536.17         Skalska         Anna
              07-Apr-17                                      $2,445.96        Singh           Saran
              07-Apr-17                                      $1,813.52        Singh           Sandeep
              07-Apr-17                                      $1,487.23        Singh           Rajinder
              07-Apr-17                                      $1,280.18        Singh           Rajinder
              07-Apr-17                                    ($1,487.23)        Singh           Rajinder
              07-Apr-17                                      $1,206.32        Singh           Parvinder
              07-Apr-17                                      $1,871.38        Singh           Parmjit

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                 4 of 28
                                                                                                       Page 17 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56               Desc
                                             Main Document    Page 19 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name     First Name
              07-Apr-17                                    ($1,871.38)        Singh         Parmjit
              07-Apr-17                                      $1,635.14        Singh         Parmjit
              07-Apr-17                                      $2,174.16        Singh         Parminder
              07-Apr-17                                      $1,577.04        Singh         Maung Opkar
              07-Apr-17                                      $1,408.78        Singh         Maung Opkar
              07-Apr-17                                    ($1,577.04)        Singh         Maung Opkar
              07-Apr-17                                       $564.59         Singh         Manjit
              07-Apr-17                                      $2,137.80        Singh         Kashmir
              07-Apr-17                                    ($2,137.80)        Singh         Kashmir
              07-Apr-17                                      $1,154.15        Singh         Kashmir
              07-Apr-17                                      $1,385.21        Singh         Joga
              07-Apr-17                                       $860.47         Singh         Jaspal
              07-Apr-17                                      $1,576.57        Singh         Gurpreet
              07-Apr-17                                      $2,403.63        Singh         Baljinder
              07-Apr-17                                      $1,447.41        Singh         Baldeep
              07-Apr-17                                        $784.72        Simbolon      Joppy
              07-Apr-17                                      $1,390.21        Silva         Antonio
              07-Apr-17                                      $1,317.13        Silprasit     Tanasit
              07-Apr-17                                      $1,229.61        Siharath      Jack
              07-Apr-17                                      $2,768.18        Sidhu         Gurmit Singh
              07-Apr-17                                    ($2,768.18)        Sidhu         Gurmit Singh
              07-Apr-17                                      $2,475.83        Sidhu         Gurmit Singh
              07-Apr-17                                       $897.24         Siburian      Partogi
              07-Apr-17                                      $1,197.52        Shupp         David
              07-Apr-17                                       $955.28         Shponarskiy   Leonid
              07-Apr-17                                      $2,136.58        Shipp         Gary
              07-Apr-17                                       $137.25         Sharma        Pranesh
              07-Apr-17                                    ($2,689.15)        Sharma        Pranesh
              07-Apr-17                                      $1,827.88        Sharma        Pranesh
              07-Apr-17                                      $2,689.15        Sharma        Pranesh
              07-Apr-17                                      $2,085.88        Sharifi       Alireza
              07-Apr-17                                       $694.69         Shah          Murtaza Wali
              07-Apr-17                                      $1,991.26        Serrano       Milton
              07-Apr-17                                    ($1,991.26)        Serrano       Milton
              07-Apr-17                                      $1,001.92        Serrano       Milton
              07-Apr-17                                    ($1,313.83)        Serrano       Michael
              07-Apr-17                                       $905.79         Serrano       Michael
              07-Apr-17                                      $1,313.83        Serrano       Michael
              07-Apr-17                                         $42.07        Serrano       Daniel
              07-Apr-17                                         $83.03        Serrano       Daniel

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                             5 of 28
                                                                                                    Page 18 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                       Desc
                                             Main Document    Page 20 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name           First Name
              07-Apr-17                                      $1,173.23        Serpas              Elmer
              07-Apr-17                                      $1,568.46        Sepeli              Denis
              07-Apr-17                                      $1,733.39        Sepeli              Alexandr Pavel
              07-Apr-17                                      $1,599.56        Sepeli              Alexandr Pavel
              07-Apr-17                                    ($1,733.39)        Sepeli              Alexandr Pavel
              07-Apr-17                                        $642.26        Semjid              Oyuntulkhuur
              07-Apr-17                                      $1,767.92        Sehgal              Rekha
              07-Apr-17                                    ($1,767.92)        Sehgal              Rekha
              07-Apr-17                                      $1,741.90        Sehgal              Rekha
              07-Apr-17                                      $1,361.94        Segura              Brenda
              07-Apr-17                                        $514.65        Sarie               Mariesca
              07-Apr-17                                      $1,523.85        Santos-Yocute       Margarito
              07-Apr-17                                      $1,630.22        Santos              Julio
              07-Apr-17                                      $2,947.84        Santos              Jerome Arceo
              07-Apr-17                                      $1,125.17        Santos              Jenny
              07-Apr-17                                        $985.52        Santos              Ena
              07-Apr-17                                      $1,196.83        Santana-Rodriguez   Lucia
              07-Apr-17                                      $1,314.45        Santamaria          Jose
              07-Apr-17                                      $1,690.43        Sangha              Gurmant Singh
              07-Apr-17                                    ($1,690.43)        Sangha              Gurmant Singh
              07-Apr-17                                      $1,450.70        Sangha              Gurmant Singh
              07-Apr-17                                      $1,318.18        Saneekosol          Surasak
              07-Apr-17                                      $1,165.91        Sandres             Ulises
              07-Apr-17                                        $732.03        Sandres             Bertha
              07-Apr-17                                        $697.97        Sandres             Bertha
              07-Apr-17                                      ($732.03)        Sandres             Bertha
              07-Apr-17                                      $1,529.25        Sandoval Quinones   Gabriel
              07-Apr-17                                        $761.05        Sandoval            Jose
              07-Apr-17                                        $282.53        Sandino             Lesther Jose
              07-Apr-17                                    ($1,176.43)        Sanderson           John
              07-Apr-17                                      $1,027.74        Sanderson           John
              07-Apr-17                                      $1,176.43        Sanderson           John
              07-Apr-17                                        $100.44        Sanciangco Jr       Julian
              07-Apr-17                                        $492.34        Sanciangco Jr       Julian
              07-Apr-17                                        $882.62        Sanciangco          Julius Angelo
              07-Apr-17                                         $37.53        Sanciangco          Julius Angelo
              07-Apr-17                                      $1,252.44        Sanchez Aguilar     Mario
              07-Apr-17                                      $1,447.07        Sanchez             Pablo
              07-Apr-17                                      $1,071.36        Sanchez             Martha
              07-Apr-17                                      $1,807.99        Sanchez             Jose

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                    6 of 28
                                                                                                          Page 19 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                     Desc
                                             Main Document    Page 21 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name         First Name
              07-Apr-17                                      ($894.27)        Sanchez           Daniel
              07-Apr-17                                        $900.58        Sanchez           Daniel
              07-Apr-17                                        $894.27        Sanchez           Daniel
              07-Apr-17                                      $2,219.38        Sanchez           Alfredo
              07-Apr-17                                      $1,371.88        Salinas           Carlos
              07-Apr-17                                      $1,078.69        Salguero          Julio
              07-Apr-17                                      $1,662.14        Salgado Alvarez   Carlos Alberto
              07-Apr-17                                      $1,411.59        Salgado           Jose
              07-Apr-17                                    ($2,389.72)        Salem             Fransiscus
              07-Apr-17                                      $1,633.91        Salem             Fransiscus
              07-Apr-17                                      $2,389.72        Salem             Fransiscus
              07-Apr-17                                      $1,981.71        Saldareaga        Luis
              07-Apr-17                                        $259.61        Saldareaga        Luis
              07-Apr-17                                      $2,316.11        Salazar           Silvia
              07-Apr-17                                      $1,176.73        Salazar           Mario
              07-Apr-17                                      $1,638.15        Salas Flores      Sandra Cecilia
              07-Apr-17                                      $1,481.60        Sagala            Ismanto
              07-Apr-17                                        $135.02        Sagala            Ismanto
              07-Apr-17                                      $1,010.84        Saevang           Mouang
              07-Apr-17                                      $1,017.48        Saenz             David
              07-Apr-17                                      $1,664.31        Sabile            Aurelio
              07-Apr-17                                      $1,162.59        Sabile            Aurelio
              07-Apr-17                                    ($1,664.31)        Sabile            Aurelio
              07-Apr-17                                      $1,320.52        Sabas             Alfred Q.
              07-Apr-17                                        $123.05        Ruiz              Ofelia
              07-Apr-17                                      $1,132.45        Ruiz              Ofelia
              07-Apr-17                                        $792.19        Ruiz              Arnoldo
              07-Apr-17                                      $2,376.31        Ruelas            Lilia
              07-Apr-17                                      $1,349.73        Rosales           Noe
              07-Apr-17                                        $699.76        Rosales           Josue
              07-Apr-17                                         $90.30        Rosales           Josue
              07-Apr-17                                        $405.20        Rosales           Jose
              07-Apr-17                                      $1,010.56        Roque             Jose
              07-Apr-17                                      $1,776.43        Romo              Marin
              07-Apr-17                                        $758.35        Rombough          Steven Todd
              07-Apr-17                                      $1,829.94        Rolle             Florante R.
              07-Apr-17                                      $1,800.27        Rogers            John
              07-Apr-17                                      $1,667.11        Rodriquez         Mark
              07-Apr-17                                      $1,582.30        Rodriguez Ruiz    Carlos
              07-Apr-17                                        $898.42        Rodriguez         Roberto

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                  7 of 28
                                                                                                         Page 20 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                      Desc
                                             Main Document    Page 22 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name             First Name
              07-Apr-17                                      $1,255.87        Rodriguez             Pedro
              07-Apr-17                                      $1,461.03        Rodriguez             Mario
              07-Apr-17                                      $1,005.62        Rodriguez             Mario
              07-Apr-17                                       $108.23         Rodriguez             Mario
              07-Apr-17                                       $532.22         Rodriguez             Julio
              07-Apr-17                                       $834.09         Rodriguez             Jose Jesus
              07-Apr-17                                      $1,242.92        Rodriguez             Blanca
              07-Apr-17                                      $1,446.33        Rodriguez             Ana Cecilia
              07-Apr-17                                       $894.33         Rocha                 Steve
              07-Apr-17                                       $539.29         Rocha                 Kenneth S
              07-Apr-17                                       $162.22         Rocha                 Kenneth
              07-Apr-17                                      $1,413.52        Robles                Luis
              07-Apr-17                                      $1,923.18        Robles                Jose
              07-Apr-17                                      $1,873.86        Robles                Jose
              07-Apr-17                                    ($1,923.18)        Robles                Jose
              07-Apr-17                                      $1,607.31        Robinson              Vernon
              07-Apr-17                                      $1,009.53        Robert                Jimmy Anthony
              07-Apr-17                                       $158.63         Roa                   Cynthia
              07-Apr-17                                      $3,769.51        Rivera De Hernandez   Martha
              07-Apr-17                                      $1,333.81        Rivera De Hernandez   Martha
              07-Apr-17                                    ($3,769.51)        Rivera De Hernandez   Martha
              07-Apr-17                                    ($2,694.74)        Rivera                Karina
              07-Apr-17                                      $2,519.20        Rivera                Karina
              07-Apr-17                                      $2,694.74        Rivera                Karina
              07-Apr-17                                       $896.38         Rivera                Ana
              07-Apr-17                                       $973.51         Rivenbark             Daniel
              07-Apr-17                                      $1,237.22        Rivas                 Efrain
              07-Apr-17                                      $1,442.32        Rios                  Alexander
              07-Apr-17                                       $690.72         Ricardos              Allyssa
              07-Apr-17                                      $1,574.91        Ricardez              Jaime
              07-Apr-17                                      $1,367.36        Riad Rezk             Amir
              07-Apr-17                                      $1,179.39        Reyes                 Samuel
              07-Apr-17                                      $1,268.07        Reyes                 Rodolfo
              07-Apr-17                                       $856.02         Reyes                 Alexander
              07-Apr-17                                      $1,322.83        Reyes                 Alex
              07-Apr-17                                       $909.73         Reveles, Jr           Gabriel
              07-Apr-17                                      $1,403.28        Renoj                 Eduardo
              07-Apr-17                                      $2,079.60        Reinhart Jr           Gerard John
              07-Apr-17                                    ($2,079.60)        Reinhart Jr           Gerard John
              07-Apr-17                                      $2,074.25        Reinhart Jr           Gerard John

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                     8 of 28
                                                                                                            Page 21 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                  Desc
                                             Main Document    Page 23 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name        First Name
              07-Apr-17                                      $2,794.44        Recinos Diaz     Jose
              07-Apr-17                                      $1,483.47        Raza             Ahmad
              07-Apr-17                                       $494.02         Raymundo         Brayant
              07-Apr-17                                       $628.27         Raymundo         Brayant
              07-Apr-17                                      $1,046.44        Ratinoff         Fernando
              07-Apr-17                                      $1,408.39        Rastorguev       Andrey
              07-Apr-17                                      $1,472.16        Rarungkuan       Marten
              07-Apr-17                                      $1,037.51        Rangsiyananta    Sanguan
              07-Apr-17                                      $1,349.60        Randhawa         Baljinder
              07-Apr-17                                       $563.57         Ramos            John Matthew
              07-Apr-17                                        $804.76        Ramos            Edward
              07-Apr-17                                      $1,239.60        Ramirez Rizo     Jose
              07-Apr-17                                       $958.78         Ramirez          Molly
              07-Apr-17                                      $1,515.79        Ramirez          Juan
              07-Apr-17                                      $1,272.83        Ramirez          Gerardo
              07-Apr-17                                      $1,089.20        Ramirez          Artemio
              07-Apr-17                                      $1,324.16        Ragsdale         Terry
              07-Apr-17                                      $1,389.27        Quiroz           Tomas
              07-Apr-17                                       $858.41         Quiquivix        Jorge
              07-Apr-17                                      $1,232.91        Quintero         Jose
              07-Apr-17                                      $1,457.67        Quintero         Benjamin C.
              07-Apr-17                                      $1,185.07        Quintanilla      David
              07-Apr-17                                      $1,313.34        Quinonez         Ramon
              07-Apr-17                                      $1,128.77        Quezada          Mario
              07-Apr-17                                      $1,923.06        Quevedo          Fernando
              07-Apr-17                                      $1,122.85        Querubin         Lorenzo
              07-Apr-17                                      $1,563.79        Purev            Boldbaatar
              07-Apr-17                                      $1,442.21        Purev            Boldbaatar
              07-Apr-17                                    ($1,563.79)        Purev            Boldbaatar
              07-Apr-17                                      $1,412.09        Pua              Nestor
              07-Apr-17                                      $1,283.62        Provence         Ed
              07-Apr-17                                      $1,079.01        Priest           Trevor
              07-Apr-17                                       $717.75         Priest           Andrew
              07-Apr-17                                       $881.67         Preekran         Anongnat
              07-Apr-17                                      $1,342.32        Prasad           Amit
              07-Apr-17                                      $1,855.70        Praphasuk        Jitraroch
              07-Apr-17                                      $2,258.23        Pozas Becerril   Marco
              07-Apr-17                                    ($2,258.23)        Pozas Becerril   Marco
              07-Apr-17                                      $1,753.14        Pozas Becerril   Marco
              07-Apr-17                                      $1,166.41        Pouwongpat       Sorana

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                9 of 28
                                                                                                       Page 22 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                    Desc
                                             Main Document    Page 24 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name           First Name
              07-Apr-17                                      $1,238.25        Pourdavood          Rouben
              07-Apr-17                                      $1,169.31        Pogue III           Roy Arnold
              07-Apr-17                                       $421.17         Poerwanto           Indra
              07-Apr-17                                      $1,763.60        Plascencia-Adame    Jose
              07-Apr-17                                      $1,484.54        Pineda              Marco
              07-Apr-17                                      $1,937.11        Pineda              Luis
              07-Apr-17                                      $1,078.41        Pibuldhanapatana    Yongyudh
              07-Apr-17                                      $1,221.62        Pibuldhanapatana    Sanphchai
              07-Apr-17                                    ($1,221.62)        Pibuldhanapatana    Sanphchai
              07-Apr-17                                       $961.99         Pibuldhanapatana    Sanphchai
              07-Apr-17                                      $1,150.08        Phumchun            Voraphot
              07-Apr-17                                        $754.41        Phompong            Boonh
              07-Apr-17                                      $2,289.37        Phim                Thing
              07-Apr-17                                    ($2,289.37)        Phim                Thing
              07-Apr-17                                      $1,046.50        Phim                Thing
              07-Apr-17                                      $1,237.47        Petprasert          Serm
              07-Apr-17                                    ($1,928.07)        Perez-Calles        Jose
              07-Apr-17                                      $1,766.18        Perez-Calles        Jose
              07-Apr-17                                      $1,928.07        Perez-Calles        Jose
              07-Apr-17                                        $753.42        Perez de Sullivan   Maria
              07-Apr-17                                      $1,371.82        Perez               Ruben G.
              07-Apr-17                                      $1,228.42        Perez               Joaquin
              07-Apr-17                                      $1,011.30        Perez               Francisco
              07-Apr-17                                      $1,524.60        Perez               Eva
              07-Apr-17                                      $1,521.06        Perez               Eliseo
              07-Apr-17                                      $1,388.14        Perez               Eliseo
              07-Apr-17                                    ($1,521.06)        Perez               Eliseo
              07-Apr-17                                      $2,272.08        Perez               Delia
              07-Apr-17                                      $1,004.75        Perez               Christian
              07-Apr-17                                      $2,353.79        Perez               Arturo
              07-Apr-17                                      $1,019.51        Perez               Alberto
              07-Apr-17                                      $2,674.91        Peralta             Jaime
              07-Apr-17                                      $1,333.39        Peniche             John
              07-Apr-17                                      $1,306.15        Penagos             Alfredo
              07-Apr-17                                      $1,176.92        Pelle               Alfred T.
              07-Apr-17                                       $889.74         Payne               Ryan Saint Yves
              07-Apr-17                                      $1,673.39        Patel               Minakshi P.
              07-Apr-17                                      $1,081.77        Patel               Kartik
              07-Apr-17                                      $1,383.34        Pastor              Liliana
              07-Apr-17                                    ($1,383.34)        Pastor              Liliana

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                   10 of 28
                                                                                                          Page 23 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                   Desc
                                             Main Document    Page 25 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name        First Name
              07-Apr-17                                      $1,314.95        Pastor           Liliana
              07-Apr-17                                      $1,454.81        Passoni          Alfredo
              07-Apr-17                                    ($1,651.36)        Passoni          Alfredo
              07-Apr-17                                      $1,651.36        Passoni          Alfredo
              07-Apr-17                                      $1,505.02        Parada           Orlando
              07-Apr-17                                      $1,031.20        Pantoja          Irma
              07-Apr-17                                        $822.66        Panis            Cecil
              07-Apr-17                                        $658.39        Panian           Jan M.
              07-Apr-17                                      $1,243.23        Padua            Bernardo C.
              07-Apr-17                                      $1,603.59        Padam            Davinder K.
              07-Apr-17                                       $471.12         Ostos-Quintana   Diana
              07-Apr-17                                       $877.64         Osorio           Yaremy
              07-Apr-17                                       $602.76         Osorio           Ramon
              07-Apr-17                                       $362.03         Osorio           April
              07-Apr-17                                       $886.14         Osburn           Brenda Regina
              07-Apr-17                                       $866.59         Ortiz            Samantha
              07-Apr-17                                      $1,202.52        Orozco           Efren
              07-Apr-17                                       $133.48         Orozco           Efren
              07-Apr-17                                       $200.25         Orellana         Victor
              07-Apr-17                                      $1,809.20        Orellana         Victor
              07-Apr-17                                       $783.47         Orellana         Marlon
              07-Apr-17                                      $1,978.44        Orellana         Abercio
              07-Apr-17                                       $274.39         Olvera           Roberto
              07-Apr-17                                       $554.71         Olmedo           Stephanie
              07-Apr-17                                      $1,039.02        Oliveira         Wagna
              07-Apr-17                                      $1,405.82        Oh               Pan-Suk
              07-Apr-17                                      $1,051.09        Ogunnaike        Funmi
              07-Apr-17                                        $451.63        Ogunnaike        Funmi
              07-Apr-17                                      $1,317.93        Odari            Rajan
              07-Apr-17                                       $599.65         Octave           James D.
              07-Apr-17                                      $1,480.11        Ochoa Jr         Ernesto
              07-Apr-17                                      $1,403.82        Ochoa            Linda R.
              07-Apr-17                                      $1,049.08        Ochoa            Linda B.
              07-Apr-17                                      $1,255.75        Ochoa            Ernesto
              07-Apr-17                                      $1,272.97        Ochoa            Amber
              07-Apr-17                                       $932.40         Ochoa            Amber
              07-Apr-17                                      $1,065.62        O'neal           Derrick
              07-Apr-17                                       $958.16         Noguera          Ana
              07-Apr-17                                      $1,297.87        Nita             Fernando
              07-Apr-17                                      $1,306.63        Nino-Hernandez   Nabor

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                11 of 28
                                                                                                       Page 24 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                    Desc
                                             Main Document    Page 26 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name          First Name
              07-Apr-17                                      $1,232.31        Nimsanga           Phairoj
              07-Apr-17                                       $672.04         Nguyen             Hai
              07-Apr-17                                      $1,838.90        Nguyen             Giau
              07-Apr-17                                       $872.74         Ngeth              Phai
              07-Apr-17                                      $1,284.90        Narvaez            Tita
              07-Apr-17                                       $468.62         Narayan            Nitesh
              07-Apr-17                                       $210.29         Naranjo Chavez     Jose Luis
              07-Apr-17                                       $680.89         Namba              Raymond T.
              07-Apr-17                                      $1,222.39        Najera-Farfan      Edvin
              07-Apr-17                                      $1,810.39        Najera             Gregorio H.
              07-Apr-17                                      $1,121.75        Naibkhyl           Khaled M.
              07-Apr-17                                      $1,414.34        Mussa              Ibrahim
              07-Apr-17                                       $596.65         Musigdilok         Vorapan
              07-Apr-17                                      $1,432.24        Muneenart          Suporn
              07-Apr-17                                      $1,130.09        Munda              Mardeo
              07-Apr-17                                      $1,055.72        Munaf              Mohammed
              07-Apr-17                                      $1,444.76        Moua               Tou
              07-Apr-17                                       $256.67         Moua               Thang
              07-Apr-17                                      $1,131.30        Morgan             Robert Keith
              07-Apr-17                                      $1,057.16        Moreno A.          Pablo Arturo
              07-Apr-17                                    ($1,057.16)        Moreno A.          Pablo Arturo
              07-Apr-17                                       $923.79         Moreno A.          Pablo Arturo
              07-Apr-17                                      $1,566.15        Moreno             Jose
              07-Apr-17                                      $1,337.92        Moreno             Francisco J.
              07-Apr-17                                       $990.68         Moreno             Adriana
              07-Apr-17                                      $1,385.26        Morales-Quintero   Evelia
              07-Apr-17                                      $1,176.15        Morales-Ceron      Ascencion
              07-Apr-17                                       $989.88         Morales            Sandra Irene
              07-Apr-17                                      $1,105.14        Monterrosa         Juan
              07-Apr-17                                       $873.11         Montantes          Patrisha
              07-Apr-17                                       $932.26         Montaner           Richard
              07-Apr-17                                      $2,394.07        Monroy             Luz Maria
              07-Apr-17                                      $1,012.23        Monjaras           Reina
              07-Apr-17                                      $1,239.38        Monia              Samuel
              07-Apr-17                                      $1,152.00        Molina             Mauricio
              07-Apr-17                                      $2,129.37        Mireles            Rosa
              07-Apr-17                                       $487.19         Milligan Jr        Lee R.
              07-Apr-17                                      $1,764.94        Miller             Carolyn
              07-Apr-17                                       $119.74         Mikula             Jiri
              07-Apr-17                                       $892.51         Mikula             Jiri

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                 12 of 28
                                                                                                         Page 25 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                  Desc
                                             Main Document    Page 27 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name         First Name
              07-Apr-17                                      $1,438.43        Menendez          Noe
              07-Apr-17                                      $1,275.55        Menendez          Noe
              07-Apr-17                                    ($1,438.43)        Menendez          Noe
              07-Apr-17                                        $686.60        Mendoza           Nolvia
              07-Apr-17                                      $1,562.93        Mendoza           Jose Antonio
              07-Apr-17                                      $1,477.27        Mendoza           Jose
              07-Apr-17                                       $570.73         Mendoza           Jason
              07-Apr-17                                       $953.91         Melnychuk         Vasyl
              07-Apr-17                                        $846.01        Melgar            Sandra
              07-Apr-17                                      $1,144.93        Mejia-Castro      Ronal
              07-Apr-17                                      $1,196.26        Mejia             Jose
              07-Apr-17                                    ($1,790.07)        Medina Bono       Jose
              07-Apr-17                                      $2,080.59        Medina Bono       Jose
              07-Apr-17                                      $1,790.07        Medina Bono       Jose
              07-Apr-17                                      $2,580.88        Mckelligott       Ryan
              07-Apr-17                                      $1,230.60        Mc Clain          Tina
              07-Apr-17                                      $1,115.22        Mayorga           Jose
              07-Apr-17                                      $1,345.48        Mayen             Sandra
              07-Apr-17                                      $1,752.86        Mathews           Robert
              07-Apr-17                                       $810.25         Mata              Maria
              07-Apr-17                                       $929.78         Mata              Cristal P.
              07-Apr-17                                      $1,207.00        Masferrer         Carlos
              07-Apr-17                                      $1,300.70        Martinez-Giron    Juan
              07-Apr-17                                       $892.79         Martinez Baires   Carlos Humberto
              07-Apr-17                                      $1,681.11        Martinez B.       Judith
              07-Apr-17                                      $1,898.56        Martinez          Veronica
              07-Apr-17                                      $1,435.57        Martinez          Moises
              07-Apr-17                                      $1,235.38        Martinez          Lidia
              07-Apr-17                                       $672.15         Martinez          Jose Luis
              07-Apr-17                                      $1,767.39        Martinez          Jose Eliy
              07-Apr-17                                      $2,135.46        Martinez          Jose Angel
              07-Apr-17                                       $402.38         Martinez          Jose
              07-Apr-17                                      $1,559.82        Martinez          Isidro
              07-Apr-17                                      $2,437.37        Martinez          Corina
              07-Apr-17                                       $402.19         Martinez          Christina
              07-Apr-17                                      $1,235.28        Martinez          Caroline
              07-Apr-17                                       $603.92         Marrou            Maria
              07-Apr-17                                       $607.14         Marroquin         Sonia Elizabeth
              07-Apr-17                                       $190.84         Marquez-Segovia   Juan
              07-Apr-17                                      $1,661.03        Marquez-Segovia   Juan

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                 13 of 28
                                                                                                        Page 26 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                    Desc
                                             Main Document    Page 28 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name          First Name
              07-Apr-17                                      $1,393.22        Marouf             Masoud
              07-Apr-17                                      $1,398.28        Markoglo           Semion
              07-Apr-17                                      $1,179.39        Manzano Lopez      Iris
              07-Apr-17                                      $1,139.04        Manzano Lopez      Iris
              07-Apr-17                                      $1,123.70        Manullang          Kusmin
              07-Apr-17                                      $1,438.34        Manrique Cortez    Luis Alfredo
              07-Apr-17                                        $780.13        Mamesah            Sharief
              07-Apr-17                                      $1,030.84        Malpica            David
              07-Apr-17                                      $1,701.89        Maldonado          Jahaira
              07-Apr-17                                      $1,325.65        Maldonado          Alexis
              07-Apr-17                                      $2,597.07        Magnuson           Cynthia
              07-Apr-17                                      $1,290.91        Madrigal Pantoja   Ma Del Rocio
              07-Apr-17                                      $1,024.60        Madrigal           Ramon
              07-Apr-17                                      $1,279.15        Madrigal           Ernesto
              07-Apr-17                                      $1,356.37        Ly                 Kevn
              07-Apr-17                                        $925.83        Luu                Lam
              07-Apr-17                                      $1,194.78        Luttrell           Wanda
              07-Apr-17                                      $1,532.48        Lupsa              Vasile
              07-Apr-17                                      $1,240.82        Lumingkewas        Raymond
              07-Apr-17                                      $2,507.46        Lum                Larry
              07-Apr-17                                        $134.80        Lukban             BeeJay
              07-Apr-17                                      $1,333.28        Lukban             BeeJay
              07-Apr-17                                      $1,382.90        Luitel             Shiva
              07-Apr-17                                         $17.75        Luitel             Shiva
              07-Apr-17                                        $712.85        Loza               Martin
              07-Apr-17                                      $1,542.16        Loyola             David
              07-Apr-17                                        $701.06        Lor                See Yee
              07-Apr-17                                        $585.21        Lor                See Yee
              07-Apr-17                                      ($701.06)        Lor                See Yee
              07-Apr-17                                      $1,379.22        Lor                Nelson
              07-Apr-17                                        $329.24        Lopez De Noguera   Xiomara
              07-Apr-17                                        $632.81        Lopez              Ruben L
              07-Apr-17                                        $540.09        Lopez              Ruben
              07-Apr-17                                      $1,204.19        Lopez              Nelly
              07-Apr-17                                      $1,453.69        Lopez              Juan
              07-Apr-17                                        $467.42        Loo Fernandez      Jaime
              07-Apr-17                                    ($2,807.85)        Lodin              Bashir
              07-Apr-17                                      $2,346.46        Lodin              Bashir
              07-Apr-17                                      $2,807.85        Lodin              Bashir
              07-Apr-17                                      $1,019.84        Llaury             Luis

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                 14 of 28
                                                                                                         Page 27 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                 Desc
                                             Main Document    Page 29 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name        First Name
              07-Apr-17                                      $1,446.38        Lira             Juan
              07-Apr-17                                      $2,308.38        Lipson           Louis
              07-Apr-17                                        $983.07        Lintong          Renald
              07-Apr-17                                      $1,217.98        Linares          Jaime
              07-Apr-17                                      $1,113.95        Lim III          Salvador
              07-Apr-17                                      $2,127.60        Lim              Tommy
              07-Apr-17                                      $1,188.32        Liem             Sian
              07-Apr-17                                      $2,231.24        Levko            Eduard
              07-Apr-17                                      $1,365.79        Lester           Jermaine
              07-Apr-17                                        $236.00        Leonardo         Reinerio
              07-Apr-17                                      $1,207.21        Leon             Delfino
              07-Apr-17                                      $1,250.52        Leevarinpanich   Virot
              07-Apr-17                                      $1,055.84        Lee              Rickey
              07-Apr-17                                        $630.64        Leary            Alex
              07-Apr-17                                      ($630.64)        Leary            Alex
              07-Apr-17                                        $681.16        Leary            Alex
              07-Apr-17                                      $1,127.29        Leadley          John
              07-Apr-17                                      $1,503.53        Le               Chi
              07-Apr-17                                      $1,128.90        Lazarte          Franklin
              07-Apr-17                                        $922.26        Lazaro           Francisco
              07-Apr-17                                        $844.45        Lazaro           Francisco
              07-Apr-17                                    ($1,858.25)        Lazarev          Constantin
              07-Apr-17                                      $1,598.34        Lazarev          Constantin
              07-Apr-17                                      $1,858.25        Lazarev          Constantin
              07-Apr-17                                      $1,545.56        Lara             Brenis
              07-Apr-17                                      $1,549.45        Lao              Jason
              07-Apr-17                                      $1,284.01        Lanum            James
              07-Apr-17                                        $731.60        Langley          Richard
              07-Apr-17                                        $642.00        Lamoureaux       Sheri
              07-Apr-17                                        $573.79        Lagunas          Christopher
              07-Apr-17                                        $717.72        Lafleur          Riley
              07-Apr-17                                      $1,292.00        Korneva          Tatyana A.
              07-Apr-17                                      $1,193.04        Kornev           Sergey
              07-Apr-17                                      $1,209.66        Kongmuang        Sittichai
              07-Apr-17                                      $1,478.54        Koke             John
              07-Apr-17                                      ($734.70)        Klair            Som Nath
              07-Apr-17                                        $611.51        Klair            Som Nath
              07-Apr-17                                        $734.70        Klair            Som Nath
              07-Apr-17                                      $1,379.17        Kissinger        Richard
              07-Apr-17                                      $1,383.32        Kian             Yeprem

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                               15 of 28
                                                                                                       Page 28 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                     Desc
                                             Main Document    Page 30 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name            First Name
              07-Apr-17                                      $1,125.29        Khem                 Sarah
              07-Apr-17                                    ($1,125.29)        Khem                 Sarah
              07-Apr-17                                      $1,099.81        Khem                 Sarah
              07-Apr-17                                      $1,550.22        Khaoone              Andrew
              07-Apr-17                                        $883.56        Khan                 Masum A.
              07-Apr-17                                      ($883.56)        Khan                 Masum A.
              07-Apr-17                                        $880.93        Khan                 Masum A.
              07-Apr-17                                      $2,007.72        Khakh                Paramjit
              07-Apr-17                                      $1,256.74        Khakh                Balbir
              07-Apr-17                                      $1,675.75        Kennedy              Bradford Warren
              07-Apr-17                                      $1,432.09        Kcomt                Jorge
              07-Apr-17                                      $1,364.80        Kay                  Denis
              07-Apr-17                                      $1,462.21        Kaur                 Simerjit
              07-Apr-17                                    ($1,462.21)        Kaur                 Simerjit
              07-Apr-17                                      $1,731.83        Kaur                 Simerjit
              07-Apr-17                                      $1,537.74        Kaur                 Ramandeep
              07-Apr-17                                      $1,385.26        Kaur                 Rajwinder
              07-Apr-17                                      $2,126.02        Joya-Iglesias        Delmy
              07-Apr-17                                      $2,131.31        Johnston             Jeanette P.
              07-Apr-17                                        $940.77        Johnson              Stoney
              07-Apr-17                                    ($1,618.20)        Jimenez              Gerardo W.
              07-Apr-17                                      $1,216.90        Jimenez              Gerardo W.
              07-Apr-17                                      $1,618.20        Jimenez              Gerardo W.
              07-Apr-17                                      $1,581.02        Jarquin              Abundio
              07-Apr-17                                      $1,271.43        Janthorn             Praphat
              07-Apr-17                                      $1,187.68        Jacobo               Jose
              07-Apr-17                                      $1,139.40        Jacobo               Jose
              07-Apr-17                                    ($1,187.68)        Jacobo               Jose
              07-Apr-17                                      $1,240.38        Ixchop               Demetrio
              07-Apr-17                                      $1,649.58        Ivory                Rachanee
              07-Apr-17                                      $1,164.35        Itzep                Faustino
              07-Apr-17                                      $1,093.20        Islas                Rosario
              07-Apr-17                                        $453.35        Islas                Jose M.
              07-Apr-17                                        $907.56        Islas                Enrique
              07-Apr-17                                      $1,421.06        Irizarry-Feliciano   Jose
              07-Apr-17                                        $763.72        Ibarguen-Jimenez     Jose
              07-Apr-17                                      $2,858.56        Hussain              Mohammed Khalik
              07-Apr-17                                      $1,561.93        Hussain              Mohammed Khalik
              07-Apr-17                                    ($2,858.56)        Hussain              Mohammed Khalik
              07-Apr-17                                        $762.74        Huff                 Stanley

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                   16 of 28
                                                                                                           Page 29 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                      Desc
                                             Main Document    Page 31 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name          First Name
              07-Apr-17                                      $1,394.45        Huezo              Olga
              07-Apr-17                                        $339.04        Huezo              Jean
              07-Apr-17                                        $594.41        Huerta             Nicolas
              07-Apr-17                                      $1,177.51        Hovenden           Charles Robert
              07-Apr-17                                      $1,092.70        Holguin            Maria
              07-Apr-17                                        $207.59        Hinojosa Ruiz      Omar
              07-Apr-17                                      $1,090.03        Hinnen             Dale
              07-Apr-17                                        $874.68        Himbing            Julian
              07-Apr-17                                        $668.71        Hildreth           Gladney
              07-Apr-17                                      $1,375.81        Hidalgo            Sharon
              07-Apr-17                                      $1,065.75        Hess               Benny
              07-Apr-17                                        $844.41        Herzog             Jason
              07-Apr-17                                         $60.82        Herzog             Jason
              07-Apr-17                                      $1,059.53        Herrera            Moises
              07-Apr-17                                        $971.18        Herrera            Augusto
              07-Apr-17                                      $1,422.93        Herrera            Ana
              07-Apr-17                                    ($1,422.93)        Herrera            Ana
              07-Apr-17                                      $1,246.57        Herrera            Ana
              07-Apr-17                                        $990.87        Hernandez-Perez    Aurora
              07-Apr-17                                      $1,958.39        Hernandez-Orozco   Mario
              07-Apr-17                                      $1,423.83        Hernandez          Sabino
              07-Apr-17                                        $965.97        Hernandez          Luis
              07-Apr-17                                      $2,872.22        Hernandez          Juan
              07-Apr-17                                        $673.76        Hernandez          Gustavo
              07-Apr-17                                        $591.69        Hernandez          Gustavo
              07-Apr-17                                      ($673.76)        Hernandez          Gustavo
              07-Apr-17                                        $991.41        Hernandez          Estanislao
              07-Apr-17                                      $1,421.15        Hernandez          Denis Jose
              07-Apr-17                                        $356.04        Hernandez          David
              07-Apr-17                                      $1,954.21        Hernandez          Abel
              07-Apr-17                                      $1,254.81        Hernandez          Abel
              07-Apr-17                                    ($1,954.21)        Hernandez          Abel
              07-Apr-17                                        $547.17        Her                Fong
              07-Apr-17                                      $1,232.62        Her                Dang
              07-Apr-17                                        $921.02        Hawkins            Jerry
              07-Apr-17                                    ($1,564.91)        Hawkins            Jerry
              07-Apr-17                                      $1,564.91        Hawkins            Jerry
              07-Apr-17                                        $289.04        Hawkins            Fatima
              07-Apr-17                                        $913.23        Hawkins            Fatima
              07-Apr-17                                        $870.01        Hasibuan           Dedy

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                   17 of 28
                                                                                                         Page 30 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                        Desc
                                             Main Document    Page 32 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name            First Name
              07-Apr-17                                       $714.76         Harrell              Shamika
              07-Apr-17                                      $1,044.58        Hantanachaikul       Wiwat
              07-Apr-17                                      $1,114.16        Hamilton             Kyle
              07-Apr-17                                       $209.40         Hall                 Gary
              07-Apr-17                                       $405.52         Hall                 Gary
              07-Apr-17                                      $1,189.33        Halim                Lukman
              07-Apr-17                                      $1,042.84        Halim                Lukman
              07-Apr-17                                    ($1,189.33)        Halim                Lukman
              07-Apr-17                                       $996.80         Hackney              Michael
              07-Apr-17                                       $693.08         Hackney              Christopher
              07-Apr-17                                      $2,493.04        Guzman               Salvador
              07-Apr-17                                      $2,244.18        Guzman               Salvador
              07-Apr-17                                    ($2,493.04)        Guzman               Salvador
              07-Apr-17                                      $1,493.89        Guzman               Manuel
              07-Apr-17                                      $1,353.64        Guzman               Jose
              07-Apr-17                                      $1,889.83        Guzar                Bogdan
              07-Apr-17                                      $1,102.29        Gutierrez            Mario
              07-Apr-17                                      $1,415.18        Gutierrez            Juan
              07-Apr-17                                       $777.53         Gulartie             John
              07-Apr-17                                      $1,096.06        Guevara              Brenda
              07-Apr-17                                      $1,148.93        Guevara              Alexander
              07-Apr-17                                      $1,054.56        Guerrero             Saul
              07-Apr-17                                      $1,702.70        Guerrero             Ivan
              07-Apr-17                                      $1,318.24        Guerrero             Ivan
              07-Apr-17                                         $83.00        Guerrero             Anabell
              07-Apr-17                                      $1,077.47        Guerrero             Anabell
              07-Apr-17                                      $1,154.70        Grokholsky           Vasily
              07-Apr-17                                      $1,943.82        Grimes               Evan
              07-Apr-17                                       $812.91         Grewal               Rajinder Singh
              07-Apr-17                                      $1,004.81        Greene               Rolanda
              07-Apr-17                                      $1,140.97        Gray Jr              Charles
              07-Apr-17                                      $1,043.01        Gratton              Sean
              07-Apr-17                                      $1,294.69        Granizo              Yanet
              07-Apr-17                                      $1,179.73        Govindan             Govindan
              07-Apr-17                                      $2,813.10        Gonzalez-Hernandez   Gilberto
              07-Apr-17                                    ($2,813.10)        Gonzalez-Hernandez   Gilberto
              07-Apr-17                                      $2,556.99        Gonzalez-Hernandez   Gilberto
              07-Apr-17                                      $1,475.47        Gonzalez, Jr         Raymond
              07-Apr-17                                      $2,080.24        Gonzalez             Ruben
              07-Apr-17                                      $1,134.80        Gonzalez             Miguel

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                     18 of 28
                                                                                                            Page 31 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                    Desc
                                             Main Document    Page 33 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name           First Name
              07-Apr-17                                      $1,453.87        Gonzalez            Hugo
              07-Apr-17                                       $995.48         Gonzalez            Claudia
              07-Apr-17                                      $1,179.38        Gonzales            Raul
              07-Apr-17                                      $2,314.92        Goncalves           Magda Lucia
              07-Apr-17                                      $1,931.62        Gomez               Wener
              07-Apr-17                                      $1,076.16        Gomez               Jose
              07-Apr-17                                      $1,085.76        Gomez               Irma
              07-Apr-17                                      $1,093.26        Gomez               Elmer
              07-Apr-17                                        $881.57        Gomez               Delmy
              07-Apr-17                                      $1,072.09        Gomez               Consuelo
              07-Apr-17                                      $1,276.97        Gomez               Charles
              07-Apr-17                                        $554.09        Godoy               Victor
              07-Apr-17                                      $1,136.62        Godoy               Maria
              07-Apr-17                                        $911.98        Godinez-Dominguez   Edelmira
              07-Apr-17                                      $1,595.00        Gill                Gurjit
              07-Apr-17                                    ($1,595.00)        Gill                Gurjit
              07-Apr-17                                      $1,393.90        Gill                Gurjit
              07-Apr-17                                      $1,500.32        Gil-Villa           Carlos
              07-Apr-17                                      $2,276.84        Gil                 Alex
              07-Apr-17                                      $1,086.13        Ghoman              Balwinder
              07-Apr-17                                        $421.46        Genova              Donna
              07-Apr-17                                         $40.24        Genova              Donna
              07-Apr-17                                      $1,200.33        Garnica             John
              07-Apr-17                                      $1,300.42        Garibay             Sergio
              07-Apr-17                                        $764.26        Gardea              Veronica
              07-Apr-17                                      $2,317.08        Garcia-Velasquez    Ismael
              07-Apr-17                                         $54.90        Garcia-Velasquez    Ismael
              07-Apr-17                                      $1,143.73        Garcia-Castillo     Tulio
              07-Apr-17                                       $676.76         Garcia Zuniga       Bertha
              07-Apr-17                                        $688.83        Garcia Ramos        Michel
              07-Apr-17                                      $1,149.27        Garcia Corona       Cesar
              07-Apr-17                                        $932.73        Garcia              Ross
              07-Apr-17                                      $1,074.84        Garcia              Miriam
              07-Apr-17                                      $1,413.21        Garcia              Juanita
              07-Apr-17                                        $498.41        Garcia              Jonathan
              07-Apr-17                                      $1,331.20        Garcia              Ginny
              07-Apr-17                                      $1,772.19        Garcia              Blas
              07-Apr-17                                      $1,189.11        Garcia              Anthony
              07-Apr-17                                        $396.67        Garcia              Anthony
              07-Apr-17                                      $1,056.47        Garcia              Ana

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                  19 of 28
                                                                                                          Page 32 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                   Desc
                                             Main Document    Page 34 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name          First Name
              07-Apr-17                                      $1,457.86        Garate             Jose
              07-Apr-17                                      $1,199.95        Gamalinda          Ivan
              07-Apr-17                                      $2,048.01        Gallagher Jr       Mark
              07-Apr-17                                       $231.23         Gallagher Jr       Mark
              07-Apr-17                                      $1,256.25        Galicia            Mynor
              07-Apr-17                                      $1,586.93        Gadea              Saturnino
              07-Apr-17                                      $1,139.00        Fujioki            John
              07-Apr-17                                      $1,462.85        Fuente             Israel
              07-Apr-17                                      $1,517.76        Franco             Jose
              07-Apr-17                                      $1,274.91        Francis            Cortney
              07-Apr-17                                      $1,279.29        Fong               Ronald
              07-Apr-17                                    ($1,279.29)        Fong               Ronald
              07-Apr-17                                      $1,142.37        Fong               Ronald
              07-Apr-17                                      $1,445.41        Flores             Rina
              07-Apr-17                                      $2,620.14        Flores             Guadalupe
              07-Apr-17                                       $724.48         Flores             Eduardo
              07-Apr-17                                      $1,145.17        Figueroa           Maria
              07-Apr-17                                      $3,244.53        Ferro              Geraldo
              07-Apr-17                                      $1,136.19        Fernandez-Davila   Luis
              07-Apr-17                                      $1,142.15        Fernandez          Mauricio
              07-Apr-17                                      $1,109.65        Fausto             Kevin
              07-Apr-17                                       $466.87         Fausto             Jonathan
              07-Apr-17                                      $1,762.83        Evans              Kevin
              07-Apr-17                                      $1,383.69        Evans              Kevin
              07-Apr-17                                    ($1,762.83)        Evans              Kevin
              07-Apr-17                                    ($1,244.60)        Etheart            Guimy
              07-Apr-17                                      $1,118.09        Etheart            Guimy
              07-Apr-17                                      $1,244.60        Etheart            Guimy
              07-Apr-17                                       $851.59         Estrada            Olivia
              07-Apr-17                                      $1,181.21        Estrada            Jose
              07-Apr-17                                       $991.96         Esquivel           Marilyn
              07-Apr-17                                      $1,358.55        Esquivel           Byron
              07-Apr-17                                      $1,176.61        Espinoza-Romucho   Luis
              07-Apr-17                                        $185.22        Espinoza-Romucho   Luis
              07-Apr-17                                      $1,159.04        Espinoza           Jose
              07-Apr-17                                      $1,783.89        Espinoza           Francisco
              07-Apr-17                                        $947.97        Escobar            Jaime
              07-Apr-17                                      $1,831.34        Escobar            Jaime
              07-Apr-17                                      $1,709.31        Escamilla          Jose Jesus
              07-Apr-17                                       $940.10         Eo                 Andrew

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                 20 of 28
                                                                                                         Page 33 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                        Desc
                                             Main Document    Page 35 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name               First Name
              07-Apr-17                                      $1,311.69        Enkhtur                 Anar
              07-Apr-17                                      $1,170.72        Ejanda                  Alden
              07-Apr-17                                      $1,379.36        Eck III                 Richard
              07-Apr-17                                       $531.00         Eck III                 Richard
              07-Apr-17                                      $1,577.54        Dutt                    Amrit
              07-Apr-17                                       $684.71         Durkin                  James
              07-Apr-17                                      $1,919.03        Duran                   William
              07-Apr-17                                      $1,405.67        Duran                   William
              07-Apr-17                                    ($1,919.03)        Duran                   William
              07-Apr-17                                    ($2,566.12)        Dulmaa                  Odon
              07-Apr-17                                      $2,047.02        Dulmaa                  Odon
              07-Apr-17                                      $2,566.12        Dulmaa                  Odon
              07-Apr-17                                       $460.62         Ducharme                Gary
              07-Apr-17                                      $1,716.37        Dsouza                  Gabriel
              07-Apr-17                                        $660.28        Dominguez               Marcos
              07-Apr-17                                         $81.33        Dominguez               Erica
              07-Apr-17                                      $1,985.42        Doguiles                Marlon
              07-Apr-17                                      $1,529.02        Doguiles                Marlon
              07-Apr-17                                    ($1,985.42)        Doguiles                Marlon
              07-Apr-17                                       $447.80         Dixon                   Okori
              07-Apr-17                                      $1,427.40        Dipinto                 Nicholas
              07-Apr-17                                       $821.44         Dioso                   Reynaldo
              07-Apr-17                                       $767.59         Dioso                   Igmedio
              07-Apr-17                                      $1,610.43        Diaz                    Mario
              07-Apr-17                                      $1,200.14        Diaz                    Mario
              07-Apr-17                                       $798.02         Dharma                  Budhi
              07-Apr-17                                       $683.21         Dhaliwal                Bivek
              07-Apr-17                                      $1,095.43        Deng                    Panatpong
              07-Apr-17                                      $1,206.42        Denegri                 Carlos
              07-Apr-17                                      $1,086.39        Dela Cruz               Romulo
              07-Apr-17                                       $536.35         Dela Cruz               Richard
              07-Apr-17                                      $1,687.23        De Santiago Marroquin   Rafael A
              07-Apr-17                                      $1,347.79        De Santiago             Vivian
              07-Apr-17                                      $1,720.17        De Santiago             Rafael
              07-Apr-17                                       $973.42         De Ocampo               Teresa
              07-Apr-17                                      $1,118.31        De La Cruz              Luis
              07-Apr-17                                      $1,041.52        De Fretes               Max
              07-Apr-17                                      $1,537.77        De Caceres              Elizabeth
              07-Apr-17                                         $57.24        De Caceres              Elizabeth
              07-Apr-17                                      $1,276.09        Davis                   Steve

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                      21 of 28
                                                                                                              Page 34 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                   Desc
                                             Main Document    Page 36 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name          First Name
              07-Apr-17                                        $685.18        Davis              Larry
              07-Apr-17                                      $1,474.98        Davis              Joseph
              07-Apr-17                                        $930.09        David              Miguel
              07-Apr-17                                      $1,653.69        Dasalla            Romeo
              07-Apr-17                                        $665.76        Darsono            Sandy
              07-Apr-17                                        $126.14        Dang               Joseph
              07-Apr-17                                      $1,310.57        Dancy              Rickey
              07-Apr-17                                    ($1,310.57)        Dancy              Rickey
              07-Apr-17                                      $1,190.38        Dancy              Rickey
              07-Apr-17                                      $1,606.27        Dancev             Veniamin
              07-Apr-17                                      $1,440.41        Dancev             Vasili
              07-Apr-17                                        $896.18        Damer              Mamoun
              07-Apr-17                                        $700.12        Cross              Robert
              07-Apr-17                                        $598.34        Cross              Robert
              07-Apr-17                                      ($700.12)        Cross              Robert
              07-Apr-17                                      $1,323.22        Crisanto           Miguel
              07-Apr-17                                      $1,069.14        Crawford Jr.       Kenneth
              07-Apr-17                                      $1,412.30        Covanan            Narongsak
              07-Apr-17                                        $868.06        Covaliuc           Mariana
              07-Apr-17                                      $1,092.38        Cova               Saul
              07-Apr-17                                      $1,206.51        Correa-Avila       Ricardo
              07-Apr-17                                      $1,063.75        Coronel            Allen
              07-Apr-17                                      $1,482.18        Corea              Rafael
              07-Apr-17                                      $1,334.35        Cordero III        Floro
              07-Apr-17                                        $610.91        Cordero Castro     Walter
              07-Apr-17                                        $748.81        Cooledge           Dana
              07-Apr-17                                        $828.03        Cooledge           Dana
              07-Apr-17                                      $1,612.67        Contreras          Fredy
              07-Apr-17                                        $462.38        Contreras          Cynthia
              07-Apr-17                                        $860.54        Columbres          Melchor
              07-Apr-17                                      $1,074.57        Cole               Aaron
              07-Apr-17                                      $3,004.30        Coello-Maldonado   Bryan
              07-Apr-17                                        $574.99        Cobarrubias        Jorge
              07-Apr-17                                        $967.85        Clement            Mary
              07-Apr-17                                        $861.21        Clark              Tina
              07-Apr-17                                      $1,170.25        Cisneros           Oswaldo
              07-Apr-17                                      $1,737.39        Cisneros           Gerardo
              07-Apr-17                                      $1,453.81        Cifuentes          Mynor
              07-Apr-17                                      $1,219.00        Chuon              Chann
              07-Apr-17                                        $953.91        Chrun              Savoeun

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                 22 of 28
                                                                                                         Page 35 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                   Desc
                                             Main Document    Page 37 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name          First Name
              07-Apr-17                                        $791.35        Christopher        Anthony
              07-Apr-17                                      $1,119.40        Christianson       Katherine Mary
              07-Apr-17                                      $1,043.54        Christianson       Katherine Mary
              07-Apr-17                                    ($1,119.40)        Christianson       Katherine Mary
              07-Apr-17                                      $1,210.47        Chorna             Hanna
              07-Apr-17                                      $2,173.61        Chevez             Francisco
              07-Apr-17                                      $1,799.22        Chevez             Francisco
              07-Apr-17                                    ($2,173.61)        Chevez             Francisco
              07-Apr-17                                        $883.13        Cheramath          Opas
              07-Apr-17                                        $291.52        Cheng              Kon-Tiki
              07-Apr-17                                      $1,311.18        Cheng              Kon-Tiki
              07-Apr-17                                      $1,550.42        Chavez, Jr         Marco
              07-Apr-17                                        $869.90        Chavez             Salvador
              07-Apr-17                                      $1,251.45        Chavez             Pedro
              07-Apr-17                                      $1,008.67        Chavez             Miguel
              07-Apr-17                                        $937.12        Chavez             Miguel
              07-Apr-17                                    ($1,008.67)        Chavez             Miguel
              07-Apr-17                                        $982.71        Chavez             Benjamin
              07-Apr-17                                      $1,332.80        Chavarria          Leonel
              07-Apr-17                                      $1,173.99        Chavarria          Damaris
              07-Apr-17                                    ($1,173.99)        Chavarria          Damaris
              07-Apr-17                                      $1,043.52        Chavarria          Damaris
              07-Apr-17                                        $592.59        Chaube             Ralesh
              07-Apr-17                                      ($948.14)        Chaube             Ralesh
              07-Apr-17                                        $948.14        Chaube             Ralesh
              07-Apr-17                                      $1,492.51        Charoenphong       Buncha
              07-Apr-17                                        $816.12        Chansila           Prawat
              07-Apr-17                                        $271.30        Chand              Avikash
              07-Apr-17                                      $2,051.92        Chand              Avikash
              07-Apr-17                                        $835.38        Chagolla, Jr       Robert
              07-Apr-17                                      $1,102.64        Cerpas Torres      Mario
              07-Apr-17                                      $1,291.95        Cerpas Torres      Mario
              07-Apr-17                                    ($1,102.64)        Cerpas Torres      Mario
              07-Apr-17                                      $1,262.07        Cernioglo          Victor
              07-Apr-17                                      $1,143.34        Cerda              Antonio
              07-Apr-17                                      $1,133.34        Cepeda-Salazar     Gerardo
              07-Apr-17                                        $452.96        Centeno            Dave
              07-Apr-17                                      $1,142.17        Celario            Jesusito
              07-Apr-17                                      $1,377.07        Cecena-Hernandez   Hernan
              07-Apr-17                                      $1,064.19        Cazares            Anthony

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                 23 of 28
                                                                                                         Page 36 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                    Desc
                                             Main Document    Page 38 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name        First Name
              07-Apr-17                                        $900.84        Castro           Roberto
              07-Apr-17                                      $1,326.57        Castro           Juan
              07-Apr-17                                      $1,505.53        Castro           Javier
              07-Apr-17                                      $1,320.15        Castillo         Sergio
              07-Apr-17                                      $1,043.68        Castillo         Jose
              07-Apr-17                                      $1,718.94        Castilla         Lidia
              07-Apr-17                                        $724.16        Castellanos      Jesse
              07-Apr-17                                        $114.42        Castellanos      Jesse
              07-Apr-17                                      $1,469.50        Casas            Israel
              07-Apr-17                                      $1,205.69        Carrera          Mario
              07-Apr-17                                        $967.43        Carrera          Edgar
              07-Apr-17                                      $1,337.72        Carr             Monique
              07-Apr-17                                        $822.78        Caro Santiago    Maria de Jesus
              07-Apr-17                                    ($1,286.31)        Carlos           Cesar
              07-Apr-17                                      $1,010.12        Carlos           Cesar
              07-Apr-17                                      $1,286.31        Carlos           Cesar
              07-Apr-17                                        $317.26        Carey Gonzalez   Vaida
              07-Apr-17                                      $1,223.80        Carey Gonzalez   Vaida
              07-Apr-17                                        $817.09        Carbajal         Alexander
              07-Apr-17                                        $894.25        Canahui Lopez    Julieta
              07-Apr-17                                        $935.73        Calderon         Ronald
              07-Apr-17                                      $1,594.88        Calderon         Jose
              07-Apr-17                                      $1,623.50        Calderon         Hugo
              07-Apr-17                                      $1,434.05        Cabrera          Miguel
              07-Apr-17                                      $1,480.49        Cabrera          Liliana
              07-Apr-17                                      $1,839.43        Cabrera          Carlos
              07-Apr-17                                        $878.58        Caballero        Maria Elena
              07-Apr-17                                        $732.71        Caballero        Maria Elena
              07-Apr-17                                      ($878.58)        Caballero        Maria Elena
              07-Apr-17                                        $850.06        Byll             Brent
              07-Apr-17                                      $1,190.69        Bucio            Efrain
              07-Apr-17                                      $1,403.22        Brown            Jeff
              07-Apr-17                                      $1,207.50        Brown            James
              07-Apr-17                                      $1,249.49        Briano           Julian
              07-Apr-17                                      $1,162.08        Brantley         Apollo
              07-Apr-17                                      $1,584.41        Bootchot         Chadchai
              07-Apr-17                                      $2,411.84        Boonma           Somchai
              07-Apr-17                                    ($2,411.84)        Boonma           Somchai
              07-Apr-17                                      $1,671.09        Boonma           Somchai
              07-Apr-17                                      $1,130.95        Bonifacio        Armando

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                 24 of 28
                                                                                                       Page 37 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                  Desc
                                             Main Document    Page 39 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name         First Name
              07-Apr-17                                      $1,548.00        Boldmyagmar       Chinzorig
              07-Apr-17                                        $860.08        Bojorquez         Edith
              07-Apr-17                                      $1,399.98        Bohannon Jr.      James
              07-Apr-17                                        $535.31        Blas              Remedios
              07-Apr-17                                      $1,037.79        Blanche Jr        Samuel
              07-Apr-17                                      $1,620.51        Bhatt             Bhavna
              07-Apr-17                                      $1,918.91        Bhamra            Manmohan
              07-Apr-17                                      $1,031.08        Bhakti            Suko
              07-Apr-17                                      $1,273.90        Beteta            Maria
              07-Apr-17                                         $35.00        Beteta            Maria
              07-Apr-17                                      $1,283.72        Beteta            Maria
              07-Apr-17                                    ($1,273.90)        Beteta            Maria
              07-Apr-17                                      $1,651.84        Bermejo           Miguel
              07-Apr-17                                      $1,001.01        Beltran           Ricardo
              07-Apr-17                                      $1,235.32        Belton            Lehman
              07-Apr-17                                      $1,385.79        Bell              Marcelo
              07-Apr-17                                      $1,577.56        Belkebir          Farid
              07-Apr-17                                    ($1,577.56)        Belkebir          Farid
              07-Apr-17                                      $1,398.36        Belkebir          Farid
              07-Apr-17                                        $897.86        Belay             Esmael
              07-Apr-17                                      $1,084.81        Beivide           Teresa
              07-Apr-17                                        $987.74        Beivide           Segundo
              07-Apr-17                                        $851.14        Bautista          Raymond
              07-Apr-17                                        $779.53        Basquez Jr.       Michael
              07-Apr-17                                      ($779.53)        Basquez Jr.       Michael
              07-Apr-17                                        $723.39        Basquez Jr.       Michael
              07-Apr-17                                      $2,229.26        Barros            Jose
              07-Apr-17                                      $1,192.81        Barrios-Ordonez   Blanca
              07-Apr-17                                         $76.81        Barrios-Ordonez   Blanca
              07-Apr-17                                        $889.83        Bandi             Tumenjargal
              07-Apr-17                                      $1,394.04        Bal               Jasveer
              07-Apr-17                                      $1,285.34        Bakhtani          Najibullah
              07-Apr-17                                      $1,223.79        Baires            Jose
              07-Apr-17                                      $1,375.61        Badar             Farhan
              07-Apr-17                                        $598.54        Ayhuan            Tonny
              07-Apr-17                                        $536.33        Ayala             Marco
              07-Apr-17                                        $788.57        Ayala             Guillermo
              07-Apr-17                                      $1,157.11        Avila             John
              07-Apr-17                                        $940.51        Atwal             Parmjit
              07-Apr-17                                      $1,516.86        Atwal             Dilawar

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                25 of 28
                                                                                                        Page 38 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                     Desc
                                             Main Document    Page 40 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name            First Name
              07-Apr-17                                       $648.15         Atwal                Dilawar
              07-Apr-17                                    ($1,516.86)        Atwal                Dilawar
              07-Apr-17                                      $1,599.05        Atrat                Dustin
              07-Apr-17                                      $1,232.66        Arzola-Mendez        Fermin
              07-Apr-17                                         $52.59        Arroyo               John
              07-Apr-17                                       $451.73         Arroyo               John
              07-Apr-17                                      $1,562.87        Arriaga Acosta       Francisco
              07-Apr-17                                      $2,110.83        Arreola-Rubio        Misael
              07-Apr-17                                      $1,071.85        Arias-Parra          Jose
              07-Apr-17                                      $1,463.19        Arguello             Mauricio
              07-Apr-17                                      $1,550.39        Arguello             Ivette
              07-Apr-17                                       $689.48         Arevalo Valladares   Christian
              07-Apr-17                                         $52.37        Arevalo Valladares   Christian
              07-Apr-17                                    ($2,655.53)        Arcos                Oscar
              07-Apr-17                                      $1,744.19        Arcos                Oscar
              07-Apr-17                                      $2,655.53        Arcos                Oscar
              07-Apr-17                                      $1,002.60        Arbuckle             Glen
              07-Apr-17                                       $852.59         Araya Ramirez        Juan
              07-Apr-17                                      $1,034.62        Arauz                Juan
              07-Apr-17                                      $1,994.99        Araujo Gonzalez      Luis
              07-Apr-17                                       $593.14         Apodaca-Barraza      Jose
              07-Apr-17                                        $786.20        Apelian              Jirair
              07-Apr-17                                      $1,735.09        Aojalla              Ricardo
              07-Apr-17                                      $1,346.92        Anzora               Antonio
              07-Apr-17                                       $813.44         Andrade Lozoya       Jose
              07-Apr-17                                      $1,188.77        Andrade              Roberto
              07-Apr-17                                      $1,754.91        Amezcua              Recardo
              07-Apr-17                                        $651.35        Amartsitu            Vladimir
              07-Apr-17                                        $321.91        Amartsitu            Vladimir
              07-Apr-17                                      $1,200.88        Amaral               Cintia
              07-Apr-17                                      $2,172.98        Amador               Raul
              07-Apr-17                                       $624.96         Alvarez Noriega      Jose
              07-Apr-17                                      $1,412.37        Alvarez              Nilton
              07-Apr-17                                      $1,530.88        Alvarado-Santana     Dixon
              07-Apr-17                                       $795.60         Alvarado Kestler     German
              07-Apr-17                                       $303.73         Alvarado             Jacqueline
              07-Apr-17                                      $1,496.66        Alva                 Hugo
              07-Apr-17                                       $649.36         Ali                  Chaudhary
              07-Apr-17                                      $3,266.75        Ali                  Chaudhary
              07-Apr-17                                       $792.71         Aleman               Jose

Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                   26 of 28
                                                                                                           Page 39 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                            Desc
                                             Main Document    Page 41 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name                   First Name
              07-Apr-17                                      $1,308.17        Akbaryar                    Wadood
              07-Apr-17                                      $1,064.28        Ahmed                       Bilal
              07-Apr-17                                      $1,295.18        Aguinaga                    Theresa
              07-Apr-17                                       $938.30         Aguilar                     Yanira
              07-Apr-17                                      $1,874.74        Aguilar                     Joel
              07-Apr-17                                      $1,461.68        Aguayo                      Ruben
              07-Apr-17                                       $672.30         Aguayo                      Ramon
              07-Apr-17                                       $680.10         Acevedo Perez               Carolina
              07-Apr-17                                       $673.48         Acenita                     Eduardo
              07-Apr-17                                       $626.04         Abuda                       Ruel
              07-Apr-17                                      $1,253.98        Abonce-Lira                 Guadalupe
              07-Apr-17                                      $1,010.22        Aben                        Ferdinand
              07-Apr-17                                      $1,016.60        Aben                        Ferdinand
              07-Apr-17                                    ($1,010.22)        Aben                        Ferdinand
              07-Apr-17                                       $705.35         Abdulwase                   Hadi
              07-Apr-17                                      $1,332.99        Abdulqawi                   Badr
              07-Apr-17                                    ($1,332.99)        Abdulqawi                   Badr
              07-Apr-17                                      $1,189.75        Abdulqawi                   Badr
              07-Apr-17                                       $409.07         Abdisalan                   Abdirahman M.
              07-Apr-17                                       $937.19         Abdalla                     Mustafa

                                                       $1,034,620.41                      $1,034,620.41

    Outstanding Checks                                    $113,452.97                      $113,452.97
    to Current Employees:

                        Sub-Contractors
    Silver State Courier                                      3,341.00
    Central Courier                                           6,250.00
    Eite Delivery Service                                    2,750.00
    Swift Couriers                                                -
    Russell Couriers                                         6,000.00
    S&P Couriers                                             3,400.00
    Silver City Couriers                                     3,000.00
    Southwest Courier                                        4,000.00
    WPX Couriers                                               330.00
    24 Hour Express                                            525.00
    David Riviera                                              760.00
                                                            30,356.00                        $30,356.00



Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                          27 of 28
                                                                                                                  Page 40 of 90
     Case 2:17-bk-13943-ER                   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                            Desc
                                             Main Document    Page 42 of 91


                                                       Unity Courier Service
                                                Expected Payroll to be Paid 4/7/17
                                               for the payroll period ended 3/31/17



      Payment Date                                Payment Amount              Last Name                   First Name

    Total Expected Payments                             $1,178,429.38                     $1,178,429.38

    Expected Payroll Taxes
     Federal and State                                    $239,787.43                      $239,787.43

    Expected Garnishments                                    $3,243.05                       $3,243.05

    Total Expected Payroll
     Related Expenses                                   $1,421,459.86                     $1,421,459.86

    Requested Excess Cushion,
    Due to Estimated Payments:                             $25,000.00                       $25,000.00

    TOTAL REQUESTED FOR APPROVAL:                                                         $1,446,459.86




Copy of Unity FDay Wage Exhibit 1 04 04 17 fnl.1.xlsx In re Unity Courier Service, Inc.
                                                        Case No. 2:17-bk-13943-ER                                          28 of 28
                                                                                                                  Page 41 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 43 of 91




                               EXHIBIT 2

                                                                    Page 42 of 90
    Case 2:17-bk-13943-ER             Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56                Desc
                                      Main Document    Page 44 of 91

                                             Unity Courier Service, Inc
                                           Estimated Assets & Liabilities
                                               as of March 31, 2017

                       Assets
                       Cash & Equivalents                                             23,017
                       Accounts Receivables                                        3,264,436
                       Prepaid Insurance                                             376,921
                       Furniture & Equipment                                          88,479
                       Other-Notes Receivables                                       265,755

                       Total Assets                                               4,018,608



                       Liabilities
                       Accounts Payable                                             839,030
                       Accrued Payroll Liabilities                                1,473,714
                       Notes Payable-Steve Lopez                                    200,000
                       Camco Commission (a)                                       1,236,684

                       Total Liabilities                                          3,749,428




                       (a)
                       Unity Courier entered into a commission agreeement with
                       Camco Resources on for the purchase of a customer
                       list. Commissions were paid over recent years reducing an
                       original amount owed of $3,000,000. Commissions were paid
                       monthly and the present balance owed is $1,236,684.
                       The payable to Camco Resources is not reflected on the balance
                       sheet and is normally presented in the notes to the financials.
                       Unity Courier does not presently prepare notes to the financials
                       as it is not required for internal financial statement presentation
                       to the owners. It is shown here to present the balance owed to
                       Camco Resources.




Estimated Assets and Liabilities 04 04 17.xlsx                                                 Page 43 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 45 of 91




                               EXHIBIT 3

                                                                    Page 44 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 46 of 91




                                                                    Page 45 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 47 of 91




                                                                    Page 46 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 48 of 91




                                                                    Page 47 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 49 of 91




                                                                    Page 48 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 50 of 91




                                                                    Page 49 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 51 of 91




                                                                    Page 50 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 52 of 91




                                                                    Page 51 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 53 of 91




                                                                    Page 52 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 54 of 91




                                                                    Page 53 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 55 of 91




                                                                    Page 54 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 56 of 91




                                                                    Page 55 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 57 of 91




                                                                    Page 56 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 58 of 91




                               EXHIBIT 4

                                                                    Page 57 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 59 of 91




                                                                    Page 58 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 60 of 91




                                                                    Page 59 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 61 of 91




                                                                    Page 60 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 62 of 91




                                                                    Page 61 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 63 of 91




                                                                    Page 62 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 64 of 91




                                                                    Page 63 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 65 of 91




                                                                    Page 64 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 66 of 91




                                                                    Page 65 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 67 of 91




                                                                    Page 66 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 68 of 91




                                                                    Page 67 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 69 of 91




                                                                    Page 68 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 70 of 91




                                                                    Page 69 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 71 of 91




                                                                    Page 70 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 72 of 91




                                                                    Page 71 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 73 of 91




                               EXHIBIT 5

                                                                    Page 72 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 74 of 91




                                                                     Page 73 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 75 of 91




                               EXHIBIT 6

                                                                    Page 74 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 76 of 91




                                                                    Page 75 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 77 of 91




                               EXHIBIT 7

                                                                    Page 76 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 78 of 91




                                                                    Page 77 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 79 of 91




                                                                    Page 78 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 80 of 91




                                                                    Page 79 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 81 of 91




                                                                    Page 80 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 82 of 91




                                                                    Page 81 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 83 of 91




                               EXHIBIT 8

                                                                    Page 82 of 90
UCC FINANCING STATEMENT
        Case 2:17-bk-13943-ER                                               Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56
                                                                            Main Document    Page 84 of 91
                                                                                                                                                                                               Desc
FOLLOW INSTRUCTIONS

A. NAME & PHONE OF CONTACT AT FILER (optional)

     3102828580
B. E-   MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)
     Law Offices of Ira Benjamin Katz, A Professional Corporation
     1925 Century Park East                                                                                                              DOCUMENT NUMBER:                 53434750003
     Sui te 1700                                                                                                                         FILING NUMBER:              16-7509634304
     Los Angeles, CA 90067                                                                                                               FILING DATE: 02/15/2016 17:29
     USA                                                                                                                                 IMAGE GENERATED ELECTRONICALLY FOR WEB FILING
                                                                                                                                         THE ABOVE SPACE IS FOR CA FILING OFFICE USE ONLY
1. DEBTOR'S           NAME: Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor s name); if any part of the Individual Debtor s name will not fit
                                                                                                                                                       ’                                             ’



     in line 1b, leave all of item 1 blank, check here and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
        1a. ORGANIZATION'S NAME
        UNI TY COURI ER SERV I CE, I NC.
OR      1b. INDIVIDUAL'S SURNAME                                                                   FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)                 SUFFIX


1c. MAILING ADDRESS                                                                                CITY                                                    STATE        POSTAL CODE                      COUNTRY
3231 Fl etcher Dri ve                                                                              Los Angeles                                             CA           90065                            USA
2. DEBTOR'S           NAME: Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor s name); if any part of the Individual Debtor s name will not fit
                                                                                                                                                       ’                                             ’



     in line 2b, leave all of item 2 blank, check here and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
        2a. ORGANIZATION'S NAME

OR      2b. INDIVIDUAL'S SURNAME                                                                   FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)                 SUFFIX


2c. MAILING ADDRESS                                                                                CITY                                                    STATE        POSTAL CODE                      COUNTRY


3.   SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only one Secured Party name (3a or 3b)
        3a. ORGANIZATION'S NAME

OR      3b. INDIVIDUAL'S SURNAME                                                                   FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)                 SUFFIX
        L OPEZ                                                                                     STEV E                                                  K EL L EY

3c. MAILING ADDRESS                                                                                CITY                                                    STATE        POSTAL CODE                      COUNTRY
14602 Fai r Oak Dri ve                                                                             L ake El si nore                                        CA           92530                            USA
4. COLLATERAL: This financing statement covers the following collateral:
All assets of the Debtor, including all personal property.




5. Check   only if applicable and check only one box: Collateral is    held in a Trust (see UCC1Ad, item 17 and instructions)          being administered by a Decedent s Personal Representative
                                                                                                                                                                             ’




6a. Check   only if applicable and check only one box:                                                                                                      6b. Check   only if applicable and check only one box:



        Public-Finance Transaction          Manufactured-Home Transaction            A Debtor is a Transmitting Utility                                            Agricultural Lien       Non- UCC Filing



7.   ALTERNATIVE DESIGNATION (if applicable):              Lessee/Lessor          Consignee/Consignor           Seller/Buyer        Bailee/Bailor          Licensee/Licensor




8. OPTIONAL FILER REFERENCE DATA:
LOPEZ-UNI TY
FILING OFFICE COPY




                                                                                                                                                                                       Page 83 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 85 of 91




                               EXHIBIT 9

                                                                    Page 84 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 86 of 91




                                                                    Page 85 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 87 of 91




                                                                    Page 86 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 88 of 91




                                                                    Page 87 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 89 of 91




                                                                    Page 88 of 90
Case 2:17-bk-13943-ER   Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56   Desc
                        Main Document    Page 90 of 91




                              EXHIBIT 10

                                                                    Page 89 of 90
    Case 2:17-bk-13943-ER           Doc 17 Filed 04/04/17 Entered 04/04/17 18:40:56             Desc
                                    Main Document    Page 91 of 91

                                             Unity Courier Service
                                               90 day forecast
                                                               April           May            June
  Cash Receipts                                           $    3,789,271 $    3,841,271 $    3,791,271

  Expenses
         Wages                                                  1,467,692     1,467,692      1,467,692
         Taxes                                                    479,574       479,574        479,574
         Workers Comp                                             296,374       296,374        296,374
         Auto Allowance                                           598,308       598,308        598,308
         Outside Services                                         197,312       197,312        197,312
         Auto Expenses                                            219,632       225,132        232,132
         Air Freight                                               28,875        28,875         28,875
         Supplies                                                   3,984         3,984          3,984
         Insurance                                                148,187       148,187        148,187
         Office Expenses                                           20,687        18,720         18,720
         Postage                                                      250           750            250
         Utilities                                                 19,665        17,878         16,388
         Travel                                                     8,000         8,000          8,000
         Taxes & Licenses                                           5,500         2,500          4,000
         Repairs & Maint                                              305           400            600
         Medical Insurance                                         81,813        81,813         81,813
         General Insurance                                         38,485        38,485         38,485
         Rent                                                      99,091        99,091         99,091
         Supplies                                                   2,121         2,121          2,121
         Commissions-Camco Resources                               36,251        36,251         36,251
         Interest - S Lopez                                         1,698         1,643          1,698
         Legal & Administrative Fee                                20,000        15,000         25,000
         Merchant Fees                                              1,850         1,525          1,640
  Total Cash Disbursements                                      3,775,654     3,769,614      3,786,494

  Net Cash                                                           13,617     71,657           4,777
  Cumulative Cash                                                    13,617     85,274          90,051




Unity 90 day future Cash Flow 04 04 17 fnl.xlsx                                           Page 90 of 90
